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          Nos. 24-11076, 24-11300, 24-11366, 24-11367,
           24-11428, 24-11444, 24-11445 & 24-12003

         IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT


                FLORIDA EAST COAST RAILWAY LLC, et al.,
                                           Petitioners,
                                      v.
           FEDERAL RAILROAD ADMINISTRATION, et al.,
                                           Respondents.


                 On Petition for Review of a Final Rule of the
                      Federal Railroad Administration


                      BRIEF FOR RESPONDENTS

                                           BRIAN M. BOYNTON
  Of Counsel:                                Principal Deputy Assistant
SUBASH IYER                                    Attorney General
  Acting General Counsel                   ABBY C. WRIGHT
PAUL M. GEIER                              MARTIN TOTARO
  Acting Assistant General Counsel           Attorneys, Appellate Staff
  for Litigation and Enforcement             Civil Division, Room 7525
PAULA LEE                                    U.S. Department of Justice
  Senior Trial Attorney                      950 Pennsylvania Avenue NW
                                             Washington, DC 20530
  U.S. Department of Transportation          (202) 514-5048
ALLISON ISHIHARA FULTZ
  Chief Counsel
CHRISTOPHER S. VAN NOSTRAND
  Deputy Chief Counsel
REBECCA S. BEHRAVESH
  Senior Attorney
SAMUEL GILBERT
  Senior Attorney
  Federal Railroad Administration
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   Administration, et al., Nos. 24-11076, 24-11300, 24-11366, 24-11367,
               24-11428, 24-11444, 24-11445 & 24-12003

          CERTIFICATE OF INTERESTED PERSONS AND
            CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1, counsel for respondents

certify that they are aware of no additional persons that have an interest in

the outcome of this appeal, other than those listed on petitioners’ and

amici’s Certificates of Interested Persons and Corporate Disclosure

Statements.




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           STATEMENT REGARDING ORAL ARGUMENT

      Pursuant to its broad statutory authority to engage in rulemaking, the

Federal Railroad Administration promulgated a modest, but important,

final rule that that will require many railroads, including Class I railroads

that routinely operate miles-long trains with well over 100 cars that travel

thousands of miles, to demonstrate through a special-approval process that

operating a one-person crew without a separate crewmember will be as safe

or safer than the current, standard two-person crew. Respondents stand

ready to present oral argument to explain why the arguments offered by

petitioners and their amici do not justify the relief they seek.
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                             INTRODUCTION

      The Federal Railroad Administration (FRA) issued a final rule in

2024 that will require many railroads—including Class I railroads that

operate trains that can reach up to three miles in length with well over 100

cars—to demonstrate through a special-approval process that operating

with a one-person crew will be as safe or safer than a two-person

crew. Train Crew Size Safety Requirements, 89 Fed. Reg. 25052 (Apr. 9,

2024). Safety demands nothing less. And FRA’s commitment to safety is

matched by its commitment to reasoned decisionmaking. FRA

promulgated the rule after a nearly five-month comment period during

which it conducted a public hearing and received over 10,000

comments. The public’s participation in that process, which included

helpful comments by stakeholders from all facets of the railroad industry,

provided valuable information and insight into rail operation safety that

allowed FRA to refine some proposed requirements while retaining the

rule’s core safety objectives. For example, in response to comments, FRA

revised the special-approval process that requires railroads to show that

their proposed one-person crews will be as safe or safer than larger crews.

      Two sets of petitioners challenge the rule. The first set includes Class

I railroads, which are the largest railroads operating in the United States
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(Class I petitioners). The second set includes Class II (regional) and Class

III (shortline) railroads (collectively, Shortline petitioners).

      Right now—and as Class I petitioners concede—no Class I train

operates with a one-person crew. See Class I Br. 8. But no source of law

other than the final rule expressly addresses whether a train that stretches

over 50 football fields in length can operate with only a single crewmember.

In addressing the question, the agency could have taken a categorical

approach and required two crewmembers (typically an engineer and a

conductor) for all Class I railroads, which (1) have more complex operations

than Class II or Class III railroad operations, as the Class I railroads employ

thousands of people in train operations and prioritize long-haul

transportation; and (2) lack an established safety record to review, as no

Class I railroad has initiated a one-person crew operation. 89 Fed. Reg. at

25078. Instead, the rule adopts a tailored approach by establishing a

process for a railroad to obtain approval from the agency responsible for

rail safety before the railroad can operate with only a single crewmember.

      In attacking the rule, Class I petitioners discount entirely this key

feature of the rule, including the agency’s own estimates that numerous

train operations will be able to meet this standard. In plain terms, Class I

petitioners challenge the rule because they want to remove their trains’


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conductors as separate crewmembers—leaving only a single crewmember

on a train—without having to show to FRA how doing so would be safe.

      To succeed in their challenge, Class I petitioners must demonstrate

that the agency’s decision to proceed cautiously and on the basis of a

special-approval process is arbitrary and capricious or in violation of the

governing statute. This they cannot do. Because Class I trains do not

operate with one-person crews, the agency cannot know that such crews are

currently and unambiguously less safe than two-person crews. The absence

of conclusive data, however, does not strip the agency of its ability to

regulate before a tragedy occurs.

      FRA also explained why it decided to regulate now in contrast to the

past, including troubling increases in train accidents caused by human

factors; Class I railroads operating longer trains; and uncertainty about

how new technologies can affect train safety as industry and crews learn to

adjust. Class I petitioners cannot succeed by criticizing past rulemaking

efforts or the proposed rule; they must engage with FRA’s reasoning in this

final rule. And although Class I petitioners and their amici also suggest that

political motivations improperly influenced the rule, that speculation

ignores the proposed and final rule’s special-approval process to allow for




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one-person crews and the numerous changes made to the rule as a result of

persuasive comments by industry.

      The rule treats Class II and III railroad operations differently. For

those smaller operations, FRA permitted certain exceptions based on the

amount of time those railroads have been safely operating one-person

crews. Shortline petitioners object to the ways in which FRA drew those

lines when it decided whether and how certain smaller railroads should be

exempt from the two-crewmember baseline. But the agency’s choices are

reasonable and reasonably explained. As Shortline petitioners candidly

state, “[i]n the final rule now before the court, FRA agreed with a number

of” their concerns and “significantly expanded the exceptions from the two-

person crew requirement, acknowledging that short line railroads are small

businesses that operate differently than Class I railroads.” Shortline Br. 12.

Shortline petitioners, like Class I petitioners, can demonstrate no error in

the final rule.

                   STATEMENT OF JURISDICTION

      Several petitioners filed timely petitions for review of the rule in

different courts of appeals. FRA sent a notice to the Judicial Panel on

Multidistrict Litigation that included petitions for review filed in the Fifth

Circuit, Seventh Circuit, Eighth Circuit, and this Court. Pursuant to 28


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U.S.C. § 2112(a)(3), the Panel randomly selected this Court to consolidate

the petitions for review. Those petitions, along with petitions filed after the

Panel conducted its lottery, were all consolidated in this Court. This Court

has jurisdiction to review the final rule under 49 U.S.C. § 20114(c) and 28

U.S.C. § 2342(7). Under those provisions, “[a]ny party aggrieved . . . may,

within 60 days after its entry, file a petition to review the order in the court

of appeals wherein venue lies.” 28 U.S.C. § 2344.

                      STATEMENT OF THE ISSUE

      Whether the Federal Railroad Administration properly exercised its

authority when it promulgated a rule establishing minimum safety

requirements for the size of train crews depending on the type of operation.

                       STATEMENT OF THE CASE

      A.    Statutory and Regulatory Background
      The Federal Railroad Safety Act provides that “[t]he Secretary of

Transportation, as necessary, shall prescribe regulations and issue orders

for every area of railroad safety.” 49 U.S.C. § 20103(a); see id. § 103(c)

(recognizing the agency’s responsibility to further “the highest degree of

safety in railroad transportation”). The Secretary has delegated that

authority to the Federal Railroad Administration, see 49 C.F.R. § 1.89(a), an

agency within the U.S. Department of Transportation charged with

“carry[ing] out the functions, powers, and duties” of the Secretary
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pertaining to railroad safety, Pub. L. No. 89-670, § 6(f)(3)(A), 80 Stat. 931,

940 (1966).

      Exercising its responsibility under the statute, FRA has issued many

regulations governing the railroad industry. See generally 49 C.F.R. pt.

200 et seq. The regulations touch on every area of railroad safety and cover

such diverse topics as track switches, id. § 213.135, railroad employee drug

and alcohol random testing, id. § 219.601, minimum requirements for

wireless communications used during railroad operations, id. § 220.1, and

safety requirements for all aspects of locomotives, including brake,

suspension, and electrical systems, id. pt. 229.

      Much of the statutory and regulatory scheme governing rail safety is

premised on the assumption that most trains will have, at a minimum, a

locomotive engineer and a conductor. For example, Congress obligated

FRA to “prescribe regulations and issue orders to establish a program

requiring the . . . certification . . . of any operator of a locomotive,” 49 U.S.C.

§ 20135(a), and “the certification of train conductors,” id. § 20163(a). And

the agency has promulgated regulations requiring “[e]ach railroad” to “have

in effect a written program for certifying the qualifications of” both

engineers and conductors. 49 C.F.R. § 240.101 (engineers); id. §§ 242.101-




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242.103 (conductors). Those programs must be approved and in effect

“prior to commencing operations.” Id. § 242.103(b).

      Engineers and conductors perform different, but sometimes-

overlapping, duties. The “engineer’s main task is to operate the train

safely.” Train Crew Size Safety Requirements, 87 Fed. Reg. 45564, 45567

(July 28, 2022). The engineer “ensur[es] that the locomotive mechanical

requirements are met; coordinat[es] with the conductor about operational

details; and, under the conductor’s supervision, interpret[s] train orders,

signals, and operating rules.” Id. The agency has promulgated extensive

regulations addressing the qualification and certification of engineers. See

49 C.F.R. pt. 240.

      The train conductor likewise plays an integral role in rail safety. The

conductor interacts with dispatchers, roadway workers, and others outside

the cab; deals with exceptional situations such as people or vehicles at

railroad crossings; and coordinates with the engineer for safe and efficient

operation while the train is moving. 87 Fed. Reg. at 45568. Conductors

also address problems with the train itself. For example, “if the crew

detects a train maintenance issue, the conductor may need to leave the

locomotive and walk the length of the train to address the problem.” U.S.

Gov’t Accountability Office, GAO-19-443, Rail Safety: Freight Trains Are


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Getting Longer, and Additional Information Is Needed To Assess Their

Impact 9 (May 2019) (observing that “[f]reight trains in the United States

generally operate with two crew members—the conductor and the

engineer,” and “[t]he conductor is responsible for the train, freight, and

crew”). And, as the rail industry becomes more automated, conductors also

“assist a locomotive engineer by responding to technology prompts or

conveying information displayed that will allow the engineer to focus on the

train’s controls and movement.” 87 Fed. Reg. at 45568. Further,

“conductors are often completing safety tasks independently of a

locomotive engineer.” 89 Fed. Reg. at 25077. The agency has promulgated

comprehensive regulations addressing the qualification and certification of

conductors. See 49 C.F.R. pt. 242.

      B.    Prior Efforts To Address Crew Size
      Although various statutes and regulations contemplate that trains will

have engineers and conductors, before the rule challenged here there was

no requirement that even Class I railroads, which may have trains with

hundreds of cars and reach several miles in length, either include a

conductor as part of the crew or show why a one-person crew would be as

safe or safer than a two-person crew.




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      FRA has addressed train crew size twice in the past. In 2016, it issued

a notice of proposed rulemaking aimed at establishing “minimum

requirements for the size of train crew staffs depending on the type of

operation.” Train Crew Staffing, 81 Fed. Reg. 13918, 13918 (Mar. 15,

2016). The agency proposed a “minimum requirement of two

crewmembers . . . for all railroad operations” and also included exceptions

“for those operations that [the agency] believes do not pose significant

safety risks to railroad employees, the general public, and the environment

by using fewer than two-person crews.” Id.

      FRA withdrew the proposed rule in May 2019. The agency at that

time decided no rule was necessary based on its view that data did not

“establish that one-person operations are less safe than multiperson train

crews.” Train Crew Staffing, 84 Fed. Reg. 24735, 24739 (May 29, 2019).

The agency also announced its intention “for the withdrawal to preempt all

state laws attempting to regulate train crew staffing.” Id. at 24741.

      The U.S. Court of Appeals for the Ninth Circuit vacated the agency’s

2019 withdrawal of the proposed rule, as well as the agency’s preemption

determination contained within that withdrawal. Transportation Div. of

the Int’l Ass’n of Sheet Metal, Air, Rail, & Transp. Workers v. FRA, 988

F.3d 1170 (9th Cir. 2021). The court stated that the withdrawal’s “real and


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intended effect is to authorize nationwide one-person train crews and to

bar any contrary state regulations,” based in large part on the agency’s

safety determinations. Id. at 1182. But the opinion questioned the agency’s

safety analysis. “It is not clear,” the court concluded, “that there is a sound

factual basis for the [withdrawal]’s suggestion that two-member crews are

less safe than one-person crews.” Id. The withdrawal “fail[ed] to address

the multiple safety concerns raised by the majority of the comments,”

including crew fatigue and the difficulties of operating a one-person crew

on mountainous terrain. Id. at 1183 (emphasis added). The court

contrasted the agency’s approach in 2016 versus 2019, observing that it

“went from proposing, as required by safety concerns, a national minimum

two-person train crew rule, to imposing a maximum one-person train crew

rule and preempting state safety laws.” Id. at 1184 (emphases omitted).

      C.    The Rulemaking Under Review

      1.    The agency revisited the issue in 2022, proposing a rule that,

among other things, would have imposed certain regulatory requirements

before a railroad could change from a two-person crew to a one-person

crew. 87 Fed. Reg. at 45564. The agency undertook a comment period that

lasted 146 days and conducted a public hearing. 89 Fed. Reg. at 25059.




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     The agency received thousands of comments, with “13,377

express[ing] support” for the proposed rule while “64 opposed it.” 89 Fed.

Reg. at 25059. “[A]bout 99 percent of the written comments submitted to

the docket were from individual commenters who were not filing their

comment officially on behalf of an organization, group, or business.” Id. A

comment signed by 54 Members of the U.S. House of Representatives also

voiced support, “view[ing] the rule as necessary to ensure the safety of

communities.” Id. at 25066. Some commenters did not believe the

proposed rule went far enough, urging that the agency require more than

two crew members for passenger trains or freight trains carrying hazardous

materials and eliminate exceptions to the two-person crew minimum. Id.

at 25067. Other commenters viewed the proposed rule as unnecessary and

too costly. Id. at 25068, 25075-76.

     2.     After considering the extensive input from individuals,

industry, members of Congress, and rail unions, the Federal Railroad

Administration promulgated the rule “to ensure that trains are adequately

staffed for their intended operation and railroads have appropriate

safeguards in place for safe train operations whenever using a one-person

train crew.” 89 Fed. Reg. at 25052.




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      The rule accomplishes four major goals. First, it establishes

minimum train crew size safety standards, requiring two crewmembers

unless an exception applies, while allowing for railroads to petition for one-

person crews if doing so would be as safe as the status quo. 89 Fed. Reg. at

25052; see id. at 25053 (“This final crew size rule is necessary for FRA to

proactively protect railroad employees, the public, and the environment

during train operations with a one-person train crew, including trains

transporting hazardous materials.”); JPA Doc.13201, at 36 (Regulatory

Impact Analysis addressing this point) (citations to the Joint Petitioners’

Appendix follow the citation format in Class I petitioners’ brief). Second, it

creates a method for the public to be able to comment on a railroad’s

petition to operate a train with a one-person crew before the agency

approves the request. 89 Fed. Reg. at 25053. Third, it institutes a process

for the agency to collect information about one-person train crew

operations so that it “will be better informed to respond to questions about

how to maintain the safety of such an operation and be better positioned to

take actions that ensure future safety improvements.” Id. And fourth, by

adopting a national, uniform standard governing train crew size, the rule

will preempt States from regulating in a manner that would subject

railroads to conflicting rules that change whenever a train crosses from one


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state or local jurisdiction into the next and preclude railroads from safely

experimenting with one-person crews. Id.; see id. at 25061 (“FRA

recognizes that, if the issue of crew size safety is left to be governed by a

patchwork of State laws, logistically it may become impossible for a railroad

to even consider operations with fewer than two crewmembers.”).

      To achieve those goals, the rule sets a default that railroads must staff

every train with at least two crewmembers (including a locomotive engineer

and an additional crewmember who will typically be a conductor) but

establishes the circumstances in which railroads may use one-person crews.

49 C.F.R. § 218.123. For example, the rule exempts some types of

passenger, tourist, and freight trains from the two-person baseline. Id.

§§ 218.125-218.129. And the rule includes a “legacy” exception that

conditionally exempts Class II (regional) and Class III (shortline) railroads

that have used one-person crews for at least two years, if they meet certain

safety conditions and have provided the agency with information about

their operations by September 6, 2024. Id. § 218.129(a)(1).

      The rule also establishes a process for other railroads, including large

Class I railroads, non-legacy Class II and III railroads looking to establish

one-person crews for the first time, and Class II and III railroads seeking to

transport certain types of hazardous materials without a demonstrated


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safety record of at least two years, to petition the agency to operate a one-

person train crew. 49 C.F.R. § 218.131. Although FRA established a default

two-crew minimum in most situations, it did not want to close the door to

safe and effective one-person crew operations and rejected commenters

who supported more stringent requirements that would permit no

exceptions to a two-person train crew. In an effort to meet the agency’s

safety obligations while at the same time promoting technological

innovation, the rule sets forth a straightforward special-approval process

for a railroad to request that the agency allow a train to operate a one-

person train crew rather than a crew operated by an engineer and a second

crewmember “who will typically be a conductor.” 89 Fed. Reg. at 25054.

The process specifies the petition requirements, risk-assessment

procedures, and the way in which FRA will review these petitions.

      For example, if one of the Class I railroads wants to change course

and use one-person crews while operating long-haul trains, it must ask the

agency and include in its petition basic information, such as the maximum

number of cars and tonnage of the train, as well as the location of the

operation to allow FRA to identify where there are hazards, such as densely

populated or environmentally sensitive areas, areas where the track grade is

steep, and whether the freight will include hazardous materials. 49 C.F.R.


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§ 218.131(b). The petition must also include a risk assessment that will

“evaluate risk in an objective manner by following a decision-making

process designed to systematically identify hazards, assess the degree of

risk associated with those hazards, and based on those assessed risks,

identify and implement measures to minimize or mitigate the risks to an

acceptable level.” 89 Fed. Reg. at 25055 (citing 49 C.F.R. § 218.131); see 49

C.F.R. § 218.133 (providing the minimum content that must be included in

a railroad’s risk assessment). The risk assessment must show that the one-

person train crew operation is as safe or safer than a two-person minimum

train crew operation. 49 C.F.R. § 218.133(a)(3)(iv), (4). Those same

petition requirements apply to a shortline railroad’s freight operation that

does not fall under an exception.

      The railroad must further agree to have operating rules ensuring that

the controlling locomotive of its one-person train crew operation has a

working “alerter” installed if the train does not already include one. See 49

C.F.R. § 218.131(a)(3); id. § 229.5. If the alerter does not detect activity after

a certain amount of time, a sequence of audible and visual alarms is

activated to prompt a response by the engineer, and if the engineer fails to

react after enough time, the brake will be applied, and the train will

eventually stop. As the agency explained, “[w]ithout a working alerter on


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the controlling locomotive, if a one-person train crew becomes

incapacitated while the train is moving, the train would continue to operate

down the track out of control without another crewmember on-board who

could apply the emergency brake.” 89 Fed. Reg. at 25054. Before this rule

took effect, FRA did not have an alerter requirement based on the size of

the train crew (although regulations already require alerters in controlling

locomotives unless a train operates only up to 25 miles per hour and was

placed in service before June 2013, see id. at 25093).

      After FRA receives a petition, it will publish a notice in the Federal

Register, soliciting public comment for the agency to consider as it decides

whether to approve the petition. 49 C.F.R. § 218.135. The agency also

“encourages railroads to approach [it] should they have any questions or

concerns about demonstrating compliance with the requirements for train

operations staffed with a one-person crew.” 89 Fed. Reg. at 25096. The

agency intends to decide petitions within 120 days. 49 C.F.R.

§ 218.135(d)(2)-(3).

      If the agency approves the petition, the railroad must comply with

annual reporting requirements that will inform the agency about the safety

of the one-person crew operation. 49 C.F.R. § 218.137. Those requirements

include such basic data as the number of employee and passenger injuries


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and fatalities as well as the number of times when a dispatcher or operator

unexpectedly lost communication with the one-person crew. Id. The

reporting requirements “ensure[ ] that each railroad will regularly review

the safety of its operation and the accuracy of its risk assessment and will

provide [the agency] with sufficient data to identify and analyze any safety

trends in the approved operation.” 89 Fed. Reg. at 25055.

      FRA does not expect that the rule’s requirements, such as the special-

approval process, will prevent railroads from moving to one-person train

crew operations but does expect that the rule will “prohibit[ ] railroads from

taking on unacceptable levels of safety risks with the potential to

detrimentally impact railroad employees, the public, or the environment.”

89 Fed. Reg. 25098. For example, the agency “estimate[d] that all Class I

railroads will submit a petition for special approval” within a year. JPA

Doc.13201, at 13. The agency stated that it “does not expect the rule to

prevent any railroad from implementing train operations with a one-

person crew, so long as it has considered and addressed any potential safety

implications.” Id. at 3 (emphasis added). And the Regulatory Impact

Analysis estimates that, over the course of a decade, 107 new one-person

train crew operations will commence; 53 of those operations will result

from the special-approval process, including 17 operations by Class I


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railroads. Id. at 13-14. The remaining estimated 54 Class II and III railroad

operations are only required to notify FRA of their operations and therefore

will not require the agency approval.

      If a railroad receives special approval to operate with one-person

crews, no State would be permitted to require those crews to have two or

more members. The agency announced its intent for the “final rule to

create a nationwide standard and anticipate[d] that it will preempt State

laws covering the same subject matter.” 89 Fed. Reg. at 25061; see 49

U.S.C. § 20106(a)(2) (“Preemption” provision requiring that laws,

regulations, and orders ‘‘related to railroad safety’’ be nationally uniform,

with federal law preempting state law once FRA “prescribes a regulation or

issues an order covering the subject matter of the State requirement”). In

doing so, the agency rejected the views of “[m]any individuals and labor

organizations [who] commented that they supported the [proposed rule]

but wanted FRA to consider a way to avoid preempting State laws that have

more stringent requirements.” 89 Fed. Reg. at 25060.

      3.    FRA’s justifications for the rule were considerable. For

example, FRA’s reasoning included discussion of why the rule was

necessary to promote rail safety; explanation of why the agency decided to




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regulate at this juncture; and consideration of alternatives the agency

rejected. We address each below.

Safety Concerns

      The agency in its preamble and Regulatory Impact Analysis relied on

quantitative and qualitative information to justify the rule. The preamble

explained that “this final rule is necessary because the latest annual rail

safety data reflects some troubling trends that point toward a need for

heightened caution and awareness in railroad safety and operational

planning.” 89 Fed. Reg. at 25053. The rate for human-factor-caused

accidents increased over 40% between 2013 and 2022, and over 13% in a

single year from 2021 to 2022. Id. The “percentage of train accidents

attributed solely to human factors . . . increased from 38.5 percent to 45.6

percent between 2013 and 2022.” Id.; see also id. (documenting the recent

rise in the “number of main track train handling and make-up accidents

attributed to human factor[s]”). The agency concluded that those figures

undermine industry commenters’ arguments that railroads should be

allowed to remove the second crewmember (typically a conductor) from

their trains without the agency responsible for rail safety determining that

doing so will not pose a risk to the public or the remaining crewmember.




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      The agency also explained that there is “uncertainty regarding

whether railroads consider all relevant risks prior to adopting one-person

crews” because of the lack of regulatory oversight on this issue. JPA

Doc.13201, at 6. “Further exacerbating the safety concerns regarding any

reduction in crew size,” FRA explained, “is that the average length of a Class

I freight train has grown substantially in recent years, to nearly 3 miles in

some cases, as train length and tonnage add to the complexity and safety

challenges of these operations.” 89 Fed. Reg. at 25053. The rule “will

proactively ensure that railroads incorporate safety risk information before

implementing one-person operations, thereby reducing the risk of needing

to take corrective actions retroactively, perhaps in response to a high

consequence event.” JPA Doc.13201, at 6.

      FRA also relied on numerous commenters who explained why a two-

crewmember baseline promotes safety. Commenters noted “how trains are

routinely slowed by unplanned events that require someone other than the

locomotive engineer to troubleshoot the problem before the train can

continue and how a conductor and a locomotive engineer work as a team

during any necessary troubleshooting.” 89 Fed. Reg. at 25062. For

example, one commenter described an incident where a young child was on

train tracks and did not move even after an engineer rang the warning bell,


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only to leave after the conductor “ran out on the nose of the engine and

waved.” Id.; see also id. at 25064 (similar example). Commenters further

explained that a “second crewmember can mitigate the risk of a sick or tired

crewmember,” especially if that other crewmember has a medical

emergency. Id. at 25063; see id. at 25064 (“[T]wo crewmembers keep each

other alert and on task, and that having an accountability partner is the

number one tool used by crews to combat fatigue”). Commenters also

stated that “the workforce is already strained and the recent doubling of

one-and-a-half-mile-long trains would make a complex job unsafe with a

one-person train crew.” Id. at 25063.

      Commenters further described how the introduction of Positive Train

Control systems, which are designed to prevent train-to-train collisions,

derailments from speeding, incursions into established work zones, and

movements of trains through switches left in the wrong position, have

“introduced new complexities” and an “added level of distraction.” 89 Fed.

Reg. at 25062 (quotation marks omitted); see id. (“even when there is a low

incidence of rail accidents, the consequence of an accident can be high and

thereby justify an additional fail-safe measure”). And a “conductor can

identify washouts, rockslides, fires, vehicles, and pedestrians, but [Positive

Train Control] cannot.” Id. Moreover, a second crewmember would


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mitigate any risk of a train “encounter[ing] difficulties when one or more

technologies fail,” id. at 25065, as “railroads continue to experience

unplanned outages and planned outages of their [Positive Train Control]

systems, in addition to various initialization failures, cut outs, and

malfunctions,” id. at 25078; see id. (“For example, in March 2023, BNSF

and Amtrak experienced unplanned outages of their [Positive Train

Control] systems, and [Norfolk Southern Railway Company] experienced

an unplanned outage of its [Positive Train Control] system in August

2023.”). The agency viewed these comments as “corroborat[ing]” the

proposed rule’s statement that “conductors and other crewmembers not

assigned to operate the locomotive or train play an active role in

maintaining the safe operation of the train and safeguarding their fellow

employees and the public.” Id. at 25067; see JPA Doc.13201, at 9, 36-37.

Agency Justifications for Its Change in Position

      In addition to justifying the rule on the basis of safety, the Federal

Railroad Administration provided a detailed explanation of why it departed

from its prior position in 2019 that safety considerations did not warrant

federal regulation, offering “two independent reasons” for its reassessment

in the final rule. 89 Fed. Reg. at 25083. First, consistent with the Ninth

Circuit’s opinion calling into question FRA’s safety analysis, see


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Transportation Division, 988 F.3d at 1182-84, the agency reevaluated

comments to the 2016 proposed rule discussing the demands placed on a

one-person train crew member. Id. Second, the agency justified the rule

based on information, discussed above, “not analyzed in the 2019

withdrawal, such as technological trends and operational changes on Class

I freight railroads since 2019.” 89 Fed. Reg. at 25083. The agency

observed that “[t]rain accidents can impose enormous and sometimes

incalculable costs on individuals, communities, and the environment, and

recent industry changes, such as utilizing longer trains than the historical

norm, introduce variables that may make it challenging for the industry to

continue the past two decades’ general trend of improved safety in rail

operations.” Id. Freight train length “has increased in recent years, and

this trend may have cascading safety impacts unless mitigated by

technology, training, or other processes.” Id. Moreover, “the latest rail

safety data reflects some troubling industry trends that suggest heightened

caution and awareness are needed in rail safety and operational planning.”

Id. The agency acknowledged the “relatively strong safety record” of trains

but noted that “the rate for all human factor caused accidents has increased

in recent years, notably after the 2019 withdrawal.” Id. The agency also

explained that “uncertainty related to new operating technologies can affect


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train safety” as crews learn to adjust to new requirements imposed by, for

example, Positive Train Control systems designed to prevent accidents. Id.

      Based on those two independent justifications—one focused on a

reconsideration of previous information and one addressing “additional

relevant information, including safety data indicating potentially worsening

trends since the 2019 withdrawal was issued”—the agency “determined that

it needed to change its position from the 2019 withdrawal and concluded

that the regulatory requirements in this final rule are necessary to ensure

that trains are adequately staffed for their intended operation and railroads

have appropriate safeguards in place for safe train operations whenever

using a one-person train crew.” 89 Fed. Reg. at 25083-84.

Alternatives Considered

      In addition to explaining the safety rationales for the rule and why the

landscape has changed since 2019, the Federal Railroad Administration

considered five alternatives to the final rule. These options, however,

“failed to adequately address safety concerns, failed to address the non-

uniform patchwork of State laws, or were disproportionately burdensome”

on industry. JPA Doc.13201, at 38.

      First, the agency rejected doing nothing because that approach would

allow railroads to be “generally free to operate trains with one


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crewmember” without “performing any safety analysis or giving FRA the

opportunity to review” whether removing a second crewmember would be

safe, and “States would be allowed to enforce crew size safety requirements

with no Federal requirements.” JPA Doc.13201, at 38-39. Second, the

agency rejected a process where railroads could request a waiver to operate

a train without a risk assessment of whether a one-person crew would be

safe. Id. at 39. The waiver process would take longer than the time in

which FRA expects to resolve special-approval petitions, “and the final

rule’s exceptions will permit some one-person train crew operations

without any interruption.” Id. Third, the agency did not adopt an approach

that would have imposed a minimum of two crewmembers for trains

carrying hazardous materials without allowing railroads the opportunity to

show that they can transport those materials safely even with a one-person

train crew, because such an approach would have foreclosed the possibility

of safely transporting those materials with one-person crews. Id. at 39-40.

Fourth, the agency rejected a requirement for two-person crews on all

trains without a special-approval process because that approach “would be

more burdensome on railroads and would not provide insight into each

operation’s hazards or risks.” Id. at 40. Finally, FRA declined to allow all

one-person train crews to operate upon notification to the agency because


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that would not provide for an agency safety review; would not require the

railroad to complete a risk assessment that would lead each railroad “to

better assess the safety of train operations with one crewmember”; and

would not include minimum safety requirements like operating rules,

alerters, or any safeguards to protect the one-person train crew and the

public. Id. at 41.

      D.    Standard of Review

      Under the Administrative Procedure Act, the Federal Railroad

Administration’s decision to issue a final rule should be upheld unless it is

“arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). “This standard of review is

‘exceedingly deferential’ and provides the reviewing court with limited

discretion to reverse an agency’s decision.” City of N. Miami v. FAA, 47

F.4th 1257, 1266 (11th Cir. 2022) (applying the standard to a case involving

a direct-review provision and quoting Miccosukee Tribe of Indians of Fla.

v. United States, 566 F.3d 1257, 1264 (11th Cir. 2009)). “So long as the

agency’s conclusions are rational, [this Court] will not set them aside,” and

“[t]hat deference is enhanced when the agency is making decisions within

its area of special expertise, as opposed to simple findings of fact.” BBX




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Capital v. Federal Deposit Ins. Corp., 956 F.3d 1304, 1314 (11th Cir. 2020)

(per curiam).

                      SUMMARY OF ARGUMENT

      I.    The Class I railroads’ petition for review should be denied

because FRA properly exercised what the Supreme Court has described as

the agency’s broad rulemaking authority over every area of railroad safety.

The final rule requires Class I railroads to demonstrate to the agency that

shifting their operations from two-person to one-person crews is safe

before they can pull the second crewmember, typically a conductor, from

their trains. FRA reasonably concluded that the final rule was necessary

because of safety data reflecting troubling industry trends in rail accidents

attributed to human-factor causes; a lack of safety information from

railroads seeking to switch to one-person crews; a multitude of comments

explaining why removing separate conductors from long-haul trains is

dangerous; the benefit of a second crewmember if the other crewmember

becomes incapacitated; and uncertainties introduced by new technologies.

Although Class I petitioners fault the agency for promulgating a rule despite

the lack of empirical data conclusively showing that Class I one-person

crews are less safe than two-person crews, no Class I train uses a crew with

only a single person on board. And if Class I railroads can adequately show


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in the future that switching to one-person crews will be as safe or safer than

multiperson crews, FRA will allow them to do so.

      Class I petitioners’ other claims similarly lack merit. They state that

FRA did not adequately explain why it departed from a prior decision not to

impose a default minimum crew size requirement, but that ignores the

agency’s two independent justifications for doing so that reexamined earlier

information and relied on new information the agency did not previously

have before it. They assert that FRA did not properly account for future

savings to railroads that would result from eliminating a crewmember, but

those are not out-of-pocket costs and also will not be incurred if Class I

railroads obtain approval to operate one-person crews. Class I petitioners’

suggestion that the rule should be vacated as untimely would be

unprecedented and is squarely inconsistent with prior positions Class I

petitioners have taken when they support FRA regulations. And they claim

that the final rule conflicts with other congressional and agency efforts to

address the general issue of crew size, but no statute or regulation strips

FRA of its authority to establish a process before trains can operate without

a second crewmember who is typically a conductor.

      II.   The Shortline railroads’ petition for review should also be

denied because the final rule reasonably draws regulatory lines about which


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trains should be exempt from the default two-person crew requirement.

The rule allows Class II and III legacy freight train operations with

currently existing one-person crew operations established for at least two

years to continue those operations if they meet certain safety conditions

and provide the agency with information about their operations. The

agency reasonably concluded that trains without established safety

records—including those transporting certain hazardous materials—must

obtain special approval from FRA before operating with one-person crews.

Shortline petitioners also cite a guidance document FRA’s Office of

Railroad Safety issued after the rule was promulgated, but nothing in that

nonbinding statement contradicts the rule. And their complaints about

costs cannot be reconciled with their repeated concessions that the final

rule is significantly less costly due to changes FRA made from the proposal.

      III.   No part of the final rule is unlawful, but if this Court concludes

otherwise, it should limit any remedy to the invalid provision. It should

also make clear that any relief would not apply to non-parties or petitioners

that did not challenge the invalid provision.




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                                 ARGUMENT

I.    The Class I Railroads’ Petition for Review Should Be
      Denied

      For Class I petitioners, who operate the largest and longest trains

over the greatest distance, the case boils down to whether the agency

responsible for rail safety may promulgate a rule requiring agency approval

before they can operate their enormous and ever-lengthening trains

without a second crewmember who is typically a conductor. FRA

reasonably concluded that Class I railroads should not be permitted to

depart from the status quo and operate their trains with one-person train

crews unless they can first demonstrate that it would be safe to do so.

      A.    The Rule Falls Comfortably Within FRA’s
            Statutory Authority

            1.    FRA Reasonably Exercised Its Authority To
                  Prescribe Rules “As Necessary” for “Every
                  Area of Railroad Safety”

      Section 20103(a) provides that “[t]he Secretary of Transportation, as

necessary, shall prescribe regulations and issue orders for every area of

railroad safety.” 49 U.S.C. § 20103(a); see id. § 20101 (“The purpose of this

chapter is to promote safety in every area of railroad operations and reduce

railroad-related accidents and incidents.”). Congress also provided FRA

with authority to “prescribe regulations and issue orders to establish a

program requiring the . . . certification . . . of any operator of a locomotive,”
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id. § 20135(a), and “the certification of train conductors,” id. § 20163(a).

Those authorities are “broad,” CSX Transp., Inc. v. Easterwood, 507 U.S.

658, 662 (1993), and Congress’s choice to empower the Secretary to

prescribe regulations that reach to “every” area of railroad safety includes

crew size.

      The legislative history of FRA’s statutory authority confirms the

expansive scope of the agency’s ability to promulgate rules. Congress

sought to delegate to the Secretary “general authority over all areas of

railroad safety” because “[v]oluntary efforts on the part of the railroads

have failed to meet the need.” S. Rep. No. 91-619, at 5 (1969). Through

that delegation, “[t]he Secretary of Transportation [wa]s granted power to

issue rules, regulations, and standards for the purpose of achieving railroad

safety.” Id. at 6. Congress provided the Secretary with broad authority

“particularly in view of the fact that with the introduction of higher speed,

longer and heavier trains, the increased carriage of deadly and dangerous

materials, the possibility of a major catastrophe is ever present.” Id.

(emphasis added).1


      1 See also H. Rep. No. 91-1194, at 14 (1970) (the legislation

“authorizes the Secretary of Transportation to prescribe regulations for all
areas of railroad safety (supplementing existing rail safety statutes and
regulations) and to conduct necessary research, development, testing,
evaluation, and training”); id. at 16 (“The Secretary’s authority to regulate
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     Pursuant to its statutory authority, FRA offered several reasonable

and independent explanations for why, in its view, the rule was necessary to

promote rail safety. For example, the agency noted that current safety data

regarding the increased rate of “human factor caused accidents” reflects

“troubling trends that point toward a need for heightened caution and

awareness in railroad safety and operational planning.” 89 Fed. Reg. at

25053. Those trends would be exacerbated, the agency noted, with one-

person crews, because “a second crewmember provides the opportunity to

secure a train with hand brakes, as a one-person train crew could not do so

without violating railroad air brake and train handling requirements.” Id.;

see id. at 25058 (“The loss of a second crewmember to perform safety

functions creates new hazards and/or increases the risk of certain existing

hazards unless mitigating actions are taken.”). And although ground-based

employees not located in the train “might be able to assist with some”




extends to all areas of railroad safety. This legislation is intended to
encompass all those means of rail transportation as are commonly included
within the term.”); 116 Cong. Rec. 34579 (1970) (statement of Sen. Prouty)
(“For the first time in the nation’s history, the Federal Government will be
able to make rules and regulations relating to all aspects of railroad
operations so as to insure maximum safety.”); 116 Cong. Rec. 27594 (1970)
(statement of Rep. Springer) (“The bill gives the Secretary of
Transportation authority to issue regulations covering the broadest range of
railroad safety.”).
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conductor functions, they do not “offer an identical safety substitute for a

traditional, second crewmember.” Id. at 25077.

      The agency also explained that, without regulatory oversight into

when and how railroads plan on operating one-person crews, there is

“uncertainty regarding whether railroads consider all relevant risks prior to

adopting one-person crews.” JPA Doc.13201, at 6. Instead of waiting to

regulate until after a tragedy, the rule “will proactively ensure that railroads

incorporate safety risk information before implementing one-person

operations, thereby reducing the risk of needing to take corrective actions

retroactively.” Id.

      FRA separately relied on comments that corroborated its

determination that “conductors and other crewmembers not assigned to

operate the locomotive or train play an active role in maintaining the safe

operation of the train and safeguarding their fellow employees and the

public.” 89 Fed. Reg. at 25067; see also JPA Doc.13201, at 9, 36-37. For

example, “[n]umerous individual commenters provided first-hand accounts

of close calls and lives saved by the action of two crewmembers working as

a team.” 89 Fed. Reg. at 25064; see id. at 25065 (commenter “express[ing]

frustration that railroads do not keep track of incidents in which trains with

two crewmembers saved lives or prevented accidents”). Having a second


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crewmember decreases the risk of tragedy if the other crewmember is tired

or sick or having a medical emergency. Id. at 25063-64; see id. at 25052 (if

a train engineer becomes “physically unresponsive,” an accident “is more

likely to occur with a one-person train crew than a two-person train crew”);

id. at 25063 (commenter noting that, even with multiperson crews, “the

workforce is already strained and the recent doubling of one-and-a-half-

mile-long trains would make a complex job unsafe with a one-person train

crew”). Further, “trains are routinely slowed by unplanned events that

require someone other than the locomotive engineer to troubleshoot the

problem,” with conductors and engineers “work[ing] as a team during any

necessary troubleshooting.” Id. at 25062.

      FRA additionally concluded that the introduction of Positive Train

Control—which is a computerized system that delivers real-time

information to train crews and monitors train location, speed, and

direction—justifies a two-person crew baseline. Crews are learning to

effectively use Positive Train Control, but as with many new technologies, it

has at least initially “introduced new complexities” and an “added level of

distraction.” 89 Fed. Reg. at 25062 (quotation marks omitted).

Commenters also explained that although a “conductor can identify

washouts, rockslides, fires, vehicles, and pedestrians,” Positive Train


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Control “cannot.” Id.; see JPA Doc.13201, at 36 (“The need for these

safeguards is particularly acute as railroads adjust to technological trends

and operational changes such as introduction and use of Positive Train

Control (PTC) and increased train length.”). And if the technology fails for

even a moment, a second crewmember mitigates risk in a way a single

crewmember cannot. 89 Fed. Reg. at 25065, 25078.

            2.    Class I Petitioners Fail To Show That FRA
                  Unreasonably Exercised Its Broad Authority

      Seemingly of the view that FRA must await tragedy before

promulgating safety regulations, Class I petitioners seek to flip Congress’s

broad grant of authority on its head to preclude the Secretary from

addressing a safety issue unless doing so would be, in their words,

“essential.” Class I Br. 25-27. As explained, the agency reasonably

concluded that the final rule is “necessary” for rail safety, and Class I

petitioners’ attempts to demonstrate otherwise fail.

      a. Class I petitioners focus on handpicked dictionary definitions of

the term “necessary” but in doing so ignore the phrase Congress actually

used. The phrase “as necessary” in Section 20103(a) is directed toward the

exercise of rulemaking authority rather than whether the rule itself is

necessary to ensure rail safety. When Congress mandates that an agency

act “as necessary,” that decision “leaves it to the [agency]’s discretion to

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determine what action is ‘necessary.’ ” Sierra Club v. Jackson, 648 F.3d

848, 856 (D.C. Cir. 2011); see United States v. Rodriguez, 588 F.2d 1003,

1006 n.10 (5th Cir. 1979) (“The language of the statute ‘may order

additional names . . . as necessary’ clearly contemplates allowing the

District Judge discretion to determine when and if such addition is

necessary.”). FRA, moreover, has the added responsibility to further “the

highest degree of safety in railroad transportation.” 49 U.S.C. § 103(c). “An

agency with such a broad mandate to assign, maintain, and enhance safety

as the highest priority must affirmatively consider and give substantial

weight to any plausible safety concerns a policy proposal implicates.”

Transportation Div. of the Int’l Ass’n of Sheet Metal, Air, Rail v. FRA, 40

F.4th 646, 656 (D.C. Cir. 2022) (alterations and quotation marks omitted).

FRA reasonably exercised its discretion, based on evidence developed in

this rulemaking, when it determined that a Class I railroad operating long-

haul trains must first demonstrate through a special-approval petition that

it can operate one-person trains as safely or safer than a two-person crew

before changing its operations from the status quo.

     Class I petitioners’ focus on “necessary” in isolation fails even on its

own terms. “The word ‘necessary’ has a range of meanings in various

contexts, but it can mean simply ‘convenient, useful, appropriate, suitable,


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or conducive to the end sought.’ ” BG Gulf Coast LNG, LLC v. Sabine-

Neches Navigation Dist. of Jefferson Cty., 49 F.4th 420, 428 (5th Cir.

2022) (quoting Black’s Law Dictionary), cert. denied, 143 S. Ct. 2577

(2023); see Armour & Co. v. Wantock, 323 U.S. 126, 129-30 (1944)

(“necessary” has “always been recognized as a word to be harmonized with

its context”). As the Supreme Court has long held, unless Congress says

otherwise, where the empowering provision of a statute states that the

agency may “make . . . such rules and regulations as may be necessary to

carry out the provisions of this Act,” regulations issued under such statutes

will be sustained so long as they are “reasonably related” to the purposes of

those statutes. Mourning v. Family Publn’s Serv., Inc., 411 U.S. 356, 369

(1973); Thorpe v. Housing Auth. of the City of Durham, 393 U.S. 268, 277,

280-81 (1969) (statute authorizing the Department of Housing and Urban

Development to “make . . . such rules and regulations as may be necessary

to carry out the provisions of this Act”); see FCC v. National Citizens

Comm. for Broad., 436 U.S. 775 793-94 (1978) (a regulation is “necessary

to carry out the provisions” of the statute if it is “based on consideration of

permissible factors and is otherwise reasonable”); Federal Power Comm’n

v. Texaco, Inc., 377 U.S. 33, 41 (1964) (provision allowing agency to




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prescribe “necessary or appropriate” regulations grants authority to

promulgate rules that “effectuat[e] the aim of the Act”).

      Class I petitioners’ contrary interpretation, which would effectively

rewrite Section 20103(a) to read, “the Secretary of Transportation shall

only prescribe regulations and issue orders that are essential for railroad

safety,” is thus especially inappropriate for statutory delegations of

rulemaking authority. The Supreme Court has, time and again, upheld

regulations as “necessary” that it did not deem as “essential.” For example,

the Court rejected a challenge to a rule codifying the Federal

Communication Commission’s view of the public-interest licensing

standard without concluding that the regulation was essential to carrying

out the provisions of the Communications Act. National Citizens, 436 U.S.

at 779, 793-94. The Court also upheld regulations based on that agency’s

policies of promoting diversification of ownership, see United States v.

Storer Broad. Co., 351 U.S. 192 (1956); National Broad. Co. v. United

States, 319 U.S. 190 (1943), without ruling that the particular policies were

essential rather than suitable. And the Court upheld the Environmental

Protection Agency’s authority to issue rules limiting discharges by existing

chemical manufacturing plants by citing a statutory provision giving the

agency the ability to make “such regulations as are necessary to carry out”


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its functions, again without concluding that those particular regulations

were essential. E.I. du Pont de Nemours & Co. v. Train, 430 U.S. 112, 132,

136 (1977). Those examples demonstrate the folly of petitioners’ unduly

restrictive definition.

      To support their cramped view of “necessary,” petitioners cite

Industrial Union Department, AFL-CIO v. American Petroleum Institute,

448 U.S. 607 (1980) (plurality opinion), but that case has no bearing here.

In that case, the Supreme Court reviewed a statutory requirement that

workplace standards be “reasonably necessary or appropriate to provide

safe or healthful employment and places of employment” and ruled that,

before regulating a toxic substance, the agency needed to determine that

substance posed a “significant risk” to employees under the statutory

standard. Id. at 642, 644. As this Court has explained, the Supreme

Court’s decision rested on several factors. See National Mining Ass’n v.

United Steel Workers, 985 F.3d 1309 (11th Cir. 2021). For example, the

Court “derived its requirement of a threshold finding of ‘significant risk’

from the [statutory] term ‘safe.’ ” Id. at 1316. And the decision relied on a

requirement that the Secretary of Labor “establish priorities to ensure that

the most serious [workplace] hazards are addressed first.” Id. at 1318.

None of the factors involved the meaning of “necessary.”


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      Nor does Alabama Ass’n of Realtors v. Department of Health &

Human Services, 594 U.S. 758 (2021) (per curiam), support petitioners. In

that case, the Supreme Court concluded that an agency likely exceeded its

authority in issuing a nationwide moratorium on evictions of any tenants

who live in a county that is experiencing substantial or high levels of

COVID-19 transmission and who make certain declarations of financial

need. The Court interpreted the scope of agency authority by examining

the statute’s reference to “the kinds of measures that could be necessary:

inspection, fumigation, disinfection, sanitation, pest extermination, and

destruction of contaminated animals and articles.” Id. at 763. The Court

concluded that those “measures directly relate to preventing the interstate

spread of disease by identifying, isolating, and destroying the disease itself,”

but the moratorium likely exceeded the agency’s authority because, in the

Court’s view, the “downstream connection between eviction and the

interstate spread of disease is markedly different from the direct targeting

of disease that characterizes the measures identified in the statute.” Id. at

763-64. In contrast to that case, this case presents no textual markers or

other indications that Congress intended to circumscribe the Secretary’s

broad authority to promulgate rail-safety regulations.




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      The textual markers here point in the opposite direction for the

reasons described above. Indeed, the version of the bill considered by the

Senate shortly before passage did not include the “as necessary” language

when describing the Secretary’s authority to promulgate rules but did

include that phrase in a separate provision. See S. Rep. No. 91-619, at 20

(“§ 102. Rail safety regulations (a) The Secretary of Transportation shall

(1) prescribe appropriate rules, regulations, and standards for all areas of

railroad safety and (2) conduct, as necessary, research, development,

testing, evaluation, and training . . . .”). Congress’s choice to add “as

necessary” to ensure parallelism with the provision that immediately

followed cannot fairly be read as a severe restriction on the Secretary’s

broad discretion to promulgate rules the Secretary deems necessary for

railroad safety, particularly when the Supreme Court repeatedly embraced

more expansive definitions of “necessary” when addressing statutory

delegations of rulemaking authority in cases decided during the time period

when Congress enacted Section 20103, see Class I Br. 25.

      b. Class I petitioners stand on no firmer ground by claiming that the

rule is not “necessary” because of the lack of conclusive “data or evidence

showing that one-person crews are unsafe or less safe than two-person

crews” that, in Class I operations, typically consist of one person who is a


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locomotive engineer and a second crewmember who is a conductor. Class I

Br. 28. To begin with, although Class I petitioners downplay in this

litigation the importance of separate conductors to the safe operation of

trains to support their claim, elsewhere they repeatedly take the opposite

view by highlighting a conductor’s role in their operational practices.

      For example, petitioner Union Pacific has explained that “[a] train

conductor’s job is to manage the safety of the train.” Union Pac., Train

Dispatching Terms and Their Definitions (Mar. 30, 2021),

https://perma.cc/BXV9-W5G7; see id. (“It is a conductor’s job to ensure

the engineer complies with safety regulations.”). Petitioner the Association

of American Railroads has declared—in a post titled “Rigorously Trained

Engineers & Conductors Keep Rail Safe”—that “[t]he conductor is

responsible for safely switching railcars, monitoring and reporting daily

work and organizing the placement of cars to facilitate the loading and

unloading of freight.” Ass’n of Am. R.Rs., Rigorously Trained Engineers &

Conductors Keep Rail Safe, https://perma.cc/A98Y-8QEZ; see id.

(“Nothing is more important to rail companies than safeguarding the

communities trains travel through and the employees that operate those

trains.”). And petitioner BNSF has likewise stated that the conductor is the

“[p]erson responsible for the safe and proper management of the


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train.” BNSF, Glossary of Railroad Terminology & Jargon,

https://perma.cc/3HDM-RLZN; see 89 Fed. Reg. at 25077 (“[T]he reason

that [Union Pacific] and other railroads hold conductors accountable for

safe train operations is that conductors are often completing safety tasks

independently of a locomotive engineer.”). Yet through this litigation they

wish to be free to eliminate the second crewmember whenever they decide

in their judgment that it would be prudent to do so instead of

demonstrating to FRA that one-person crews are at least as safe as a two-

person train crew operation.

      Even apart from Class I petitioners’ concessions, the rule’s modest

requirement that Class I railroads demonstrate in a special-approval

petition that they can operate safely with one-person crews before

undertaking those operations satisfies reasoned decisionmaking. The

absence of conclusive, unambiguous empirical data did not leave the agency

with mere “speculation” or “[a]gnosticism” about rail safety. Class I Br. 30.

FRA instead relied on all the reasons above to require that, before Class I

railroads move from the status quo to a one-person crew operating without

a second crewmember, they need to show that doing so would be safe.

      Petitioners’ contrary position conflicts with venerable, fundamental

principles of administrative law. It “is not unusual” that an agency “d[oes]


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not have perfect empirical or statistical data,” FCC v. Prometheus Radio

Project, 592 U.S. 414, 427 (2021), and “[i]t is not infrequent that the

available data does not settle a regulatory issue,” Motor Vehicle Mfrs. Ass’n

of the U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 52 (1983). And

the Administrative Procedure Act “imposes no general obligation on

agencies to produce empirical evidence.” American Great Lakes Ports

Ass’n v. Schultz, 962 F.3d 510, 516 (D.C. Cir. 2020).

      Further, judgments made by an agency within its area of special

expertise may not be “susceptible to strict ‘proof’ because they involve the

exercise of discretion, technical expertise, and informed prediction about

the likely course of future events.” Sunshine State Bank v. Federal Deposit

Ins. Corp., 783 F.2d 1580, 1582 (11th Cir. 1986); see Miccosukee Tribe of

Indians of Fla. v. United States, 566 F.3d 1257, 1271 (11th Cir. 2009)

(similar); Sacora v. Thomas, 628 F.3d 1059, 1068-69 (9th Cir. 2010)

(Bureau of Prisons may rely on “experience” rather than “having [a]

quantified . . . form of a study” to support decision on the length of inmate

placements). And agencies should “be given a wide berth when making

predictive judgments.” Board of Cty. Comm’rs of Washington Cty. v. U.S.

Dep’t of Transp., 955 F.3d 96, 99 (D.C. Cir. 2020). When “an agency’s

decision is primarily predictive,” the “limited” role for courts is to “require


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only that the agency acknowledge factual uncertainties and identify the

considerations it found persuasive.” Rural Cellular Ass’n v. FCC, 588 F.3d

1095, 1105 (D.C. Cir. 2009). Even in the context of rulemakings subject to

separate statutory obligations regarding economic analysis, “an agency

need not—indeed cannot—base its every action upon empirical data;

depending upon the nature of the problem, an agency may be entitled to

conduct a general analysis based on informed conjecture.” Chamber of

Commerce of the U.S. v. SEC, 412 F.3d 133, 142 (D.C. Cir. 2005) (quotation

marks and alterations omitted).

      Those principles apply with full force to statutes delegating authority

to agencies to act when “necessary.” In National Citizens, for example, the

Supreme Court addressed a statute allowing an agency to promulgate rules

“as may be necessary to carry out the provisions” of a statute where “public

convenience, interest, or necessity requires.” 436 U.S. at 793. The Court

did not fault the agency’s lack of conclusive data for “judgmental or

predictive” factual determinations. Id. at 813. The Court instead stated

that, “[i]n such circumstances complete factual support in the record for the

[agency’s] judgment or prediction is not possible or required.” Id. at 814.

      The agency comfortably met its obligations here by reaching a

reasonable “judgment based on the evidence it had.” Prometheus Radio,


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592 U.S. at 427. This is not a case where an agency rule will require

sweeping changes across the industry. No Class I railroad currently

operates with a one-person crew. FRA instead exercised its predictive

judgment when it regulated modestly and incrementally, by establishing a

two-person baseline along with a clear, speedy process for railroads to show

that future one-person crews will be as safe as the status quo.

      Although Class I petitioners note that FRA “has not identified

accidents that previously occurred that would be avoided by this new

rulemaking,” Class I Br. 32 (quoting JPA Doc.13201 at 36), that is not

surprising. In the part of that acknowledgment omitted by Class I

petitioners, the agency explained that “one-person train crew operations

have been limited to Class II and III railroads and their less complex

operations.” JPA Doc.13201 at 36. There is incomplete data on the safety

of one-person train crews operating on Class I railroads because it has

never happened before. See Finnbin, LLC v. Consumer Prod. Safety

Comm’n, 45 F.4th 127, 136 (D.C. Cir. 2022) (“[T]he absence of incident

reports involving baby boxes hardly proves anything, given their tiny share

of the U.S. market.”). Yet it does not matter whether irrefutable statistical

evidence of danger “has not yet manifested.” Nasdaq Stock Mkt. LLC v.

SEC, 38 F.4th 1126, 1143 (D.C. Cir. 2022). An agency has latitude to “adopt


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prophylactic rules to prevent potential problems before they arise” because

“[a]n agency need not suffer the flood before building the levee.” Id.; see

Stilwell v. Office of Thrift Supervision, 569 F.3d 514, 519 (D.C. Cir. 2009)

(making the same point while rejecting the “forceful submission” that the

agency “failed to present any substantial empirical evidence justifying the

new regulation,” because of “the deferential nature of arbitrary and

capricious review of agency rules” and the “reasoned explanation” supplied

by the agency); cf. American Farm Bureau Fed’n v. EPA, 559 F.3d 512, 533

(D.C. Cir. 2009) (per curiam) (“the agency need not wait for conclusive

findings before regulating a pollutant it reasonably believes may pose a

significant risk to public health”); National Ass’n for Surface Finishing v.

EPA, 795 F.3d 1, 15 (D.C. Cir. 2015) (similar).

      Petitioners also ignore FRA’s reliance on comments discussed above,

including comments that provided first-hand accounts of why two

crewmembers are typically better than one. It is well established that an

agency may rely on comments as support for its action. E.g., Advocates for

Highway & Auto Safety v. Federal Motor Carrier Safety Admin., 41 F.4th

586, 607 (D.C. Cir. 2022); Stilwell, 569 F.3d at 519 (sanctioning the

agency’s reliance on its “long experience of supervising” regulated entities

and “support in various comments submitted in response to the proposed


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rule”); American Great Lakes Ports, 962 F.3d at 516. Although petitioners

may have “voiced the contrary view,” “balancing conflicting evidence is the

agency’s job, not [the courts], as long as the agency reasonably weighs

evidence both supporting and undermining its final conclusion.”

Advocates for Highway & Auto Safety, 41 F.4th at 607; see Florida Mun.

Power Agency v. FERC, 315 F.3d 362, 368 (D.C. Cir. 2003) (upholding

agency decision despite “some contradictory evidence”).

      Instead of engaging with FRA’s rationale for this final rule, Class I

petitioners cite stale discussions from prior proceedings. Class I Br. 31-33.

And when they do address that rationale, their criticisms fall flat. They

downplay FRA’s conclusion that increased freight-train length justifies the

rule on the ground that it cited “nothing that links the length of freight

trains to any safety issues arising from crew size,” id. at 33, but the absence

of empirical evidence that does not exist does not preclude the agency from

reasonably concluding that Class I railroads that operate miles-long trains

that may pose foreseeable safety hazards first need to demonstrate to the

agency that the operations are safe before taking the unprecedented step of

allowing a train to operate with a one-person crew. Class I petitioners,

moreover, do not dispute the increased rates for human-factor-caused

accidents, citing instead the lack of connection between accidents and crew


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size. Id. But the agency relied on those troubling trends as a reason for

“heightened caution and awareness in railroad safety and operational

planning.” 89 Fed. Reg. at 25053. That heightened caution and awareness

supports the agency’s conclusion that trains seeking to shift from two- to

one-member crews must first show that doing so is safe.

      FRA’s decision to allow one-person crews once a Class I railroad

sufficiently demonstrates that it can do so safely confirms the

reasonableness of the rule. FRA considered and rejected the option of

imposing an across-the-board two-person minimum crew size for all Class I

railroads. The agency concluded that a no-exceptions minimum crew size

rule would be unduly “burdensome on railroads.” JPA Doc.13201, at 40. It

instead required those trains to keep a second crewmember unless the

railroad can demonstrate to FRA through a special-approval petition that

operating a train without a second crewmember would be as safe or safer

than operating with a two-person crew. As the agency explained, each

railroad operation “is unique, and a risk assessment, as required by this

final rule, will allow FRA to determine whether, under a railroad’s

particular operating conditions, a one-person train crew will be as safe or

safer than the same operation with a two-person train crew.” Id. That




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modest regulatory effort protects against Class I railroads unsafely

departing from the status quo of using two-person crews.

      Again refusing to grapple with the actual rationale for the final rule,

Class I petitioners claim that the Office of Management and Budget

“recogniz[ed] that the government could not credibly claim that railroad

safety might be threatened if railroads moved to one-person crews” and

“ordered FRA to delete” a contrary statement. Class I Br. 34. As discussed

above, however, FRA did not need to make a conclusive finding that lives

will in absolute certainty be saved before regulating consistent with the

statute and the Administrative Procedure Act. Petitioners also seriously

misconstrue the interagency coordination process. Executive Order 12,866,

as amended by Executive Order 14,094, provides that significant regulatory

actions be submitted for interagency review to the Office of Information

and Regulatory Affairs in the Office of Management and Budget. Among

other things, that interagency review process seeks “to enhance planning

and coordination with respect to” agency regulations while recognizing “the

primacy of Federal agencies in the regulatory decision-making process.”

Exec. Order No. 12,866, 58 Fed. Reg. 51735, 51735 (Oct. 4, 1993). It

provides for centralized review of regulations and is collaborative by design,

with a back-and-forth between executive branch decisionmakers—all in


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pursuit of strengthening agency rulemaking. Changes made during that

process reflect the agency’s considered view in light of the information it

receives through interagency review. Here again, Class I petitioners seek to

divert this Court’s focus from the final rule and the reasonable explanations

provided by the agency. It is that rule, approved by FRA and signed by its

Administrator, that sits before this Court for review.

            3.     Class I Petitioners Misconstrue the Special-
                   Approval Process

      Class I petitioners conceded during the comment period that FRA has

authority to “requir[e] railroads to explain how they would mitigate . . .

risks in the context of one-person operations” but urged that FRA should

not impose “a two-person crew mandate.” JPA Doc.13056, at 37-38

(comment by petitioner Association of American Railroads). FRA heeded

that request. Class I petitioners nonetheless treat the final rule as if it had

adopted an across-the-board two-person crew mandate with no exceptions

based on safety.

      And when Class I petitioners acknowledge the special-approval

process, they do so only by suggesting that FRA will unfairly evaluate

petitions for a one-person train crew operation. That argument is not only

premature, as FRA has not yet decided a single petition; it is also

inconsistent with the core principle that “a presumption of regularity

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attaches to the actions of Government agencies,” U.S. Postal Serv. v.

Gregory, 534 U.S. 1, 10 (2001), because courts “have long presumed that

executive agency officials will discharge their duties in good faith,” CTIA-

The Wireless Ass’n v. FCC, 530 F.3d 984, 989 (D.C. Cir. 2008); see also

National Parks Conservation Ass’n v. U.S. Dep’t of the Interior, 835 F.3d

1377, 1385 (11th Cir. 2016) (“Agency decisions are entitled to a presumption

of regularity.”).

      Class I petitioners nonetheless claim that the special-approval process

will be “virtually impossible to satisfy in practice.” Class I Br. 43. But that

premature statement overlooks the way the process works. In response to

comments on the proposal questioning the feasibility of the special-

approval process, the agency made several significant changes to “simplify

the requirement.” 89 Fed. Reg. at 25060. Most significantly, it “changed

the review standard for a special approval petition from determining that

an operation is ‘consistent with railroad safety’ to determining whether

approving the operation described in the petition is ‘as safe or safer’ than a

two-person train crew operation.” Id. at 25056. That revision “will more

clearly allow each railroad to compare the operation to the baseline of a

two-crewmember operation.” Id.; see id. at 25094.




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      Class I petitioners (Br. 43) speculate that “the agency has no intention

of approving any Class I operations with fewer than two crew members,” by

focusing on the proposal rather than the final rule’s preamble and

Regulatory Impact Analysis that include changes the agency made in

response to industry comments. FRA itself expects that all Class I railroads

will submit a special-approval petition within a year, JPA Doc.13201, at 13,

and estimates approval over the next decade of 53 operations from Class I

railroads, passenger railroads initiating one-person crew operations, and

Class II and III railroads initiating one-person crew operations hauling

hazardous materials that will obtain special approval for their new one-

person operations, id. at 14. And the agency provided an example of what a

railroad could do to meet that standard: “The combination of ground-based

employees, [Positive Train Control], and other mitigating actions taken in

conjunction with the special approval petition and risk assessment . . .

could support a showing that a one-person train crew operation, with the

risk mitigations in place, is as safe or safer than a two-person train crew

operation.” 89 Fed. Reg. at 25076. The agency also intends to decide

petitions within 120 days. See 49 C.F.R. § 218.135(d)(2)-(3).

      That timeline and those estimates, which are entitled to a

presumption of good faith and regularity, confirm that the process is


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anything but a sham. If Class I petitioners cannot in the future show

through their risk assessments that one-person train crew operations are as

safe or safer than two-person operations, that is a problem with their

proposed operation rather than the agency’s special-approval process. And

Class I petitioners may seek judicial review of a final agency action denying

a special-approval petition if they are not satisfied with the outcome.

      If this Court disagrees with Class I petitioners that the special-

approval process is a charade, most of their arguments fall apart. If Class I

railroads can demonstrate that particular one-person crews are as safe or

safer than two-person crews, they will be able to have them approved for

operation, undermining their argument that the rule mandates multiperson

crews even though they are no safer and too costly (Part I of Class I

petitioners’ brief). As discussed in more detail below, moreover, the

availability of the special-approval process also severely undercuts Class I

petitioners’ other arguments because: (1) there would be no even arguable

conflict with the risk reduction statute and accompanying regulation

because—even under petitioners’ misguided view of the statute and

regulation—one-person crews are allowed under this rule (Part II); (2) the

agency’s prior statements about safety and crew size have no relevance

because Class I railroads will be able to operate with one-person crews


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(Part III); and (3) Class I railroads operating one-person crews will not

incur potential labor costs of paying a second crewmember (Part IV). And

amicus Chamber of Commerce’s stated concerns about reliance interests

(Br. 17-19) likewise fall by the wayside because—setting aside the validity of

an argument based on reliance interests when no Class I railroad currently

operates with one-person crews—even the longest trains will be able to

operate with one-person crews when it can be done safely.

      B.    Class I Petitioners’ Procedural Challenges Do Not
            Warrant Relief

            1.    The Agency Adequately Explained Why It
                  Chose To Regulate the Safety of Crew Size
                  When It Had Not Done So Previously

      FRA recognized that its decision to promulgate a rule addressing crew

size safety differed from its choice in 2019 to withdraw a prior, different,

proposed crew size rule, and the agency provided a comprehensive

explanation offering “two independent reasons” for why it did so. 89 Fed.

Reg. at 25083-84. The first independent justification involved a

reconsideration of previous information. As the agency explained, “the

2019 withdrawal de-emphasized safety concerns” raised by (1) FRA-

sponsored research on the demands placed on crewmembers and; (2) those

who submitted comments to the 2016 proposed rule. Id. at 25083. That

reassessment comported with the Ninth Circuit’s criticism that the 2019

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withdrawal did not adequately “address the multiple safety concerns raised

by the majority of the comments,” including crew fatigue and the

difficulties of operating a train on difficult terrain with a one-person crew.

Transportation Division, 988 F.3d at 1182-83.

      The second independent justification addressed “information not

analyzed in the 2019 withdrawal, such as technological trends and

operational changes on Class I freight railroads since 2019.” 89 Fed. Reg.

at 25083. As the agency explained, “recent industry changes, such as

utilizing longer trains than the historical norm, introduce variables that

may make it challenging for the industry to continue the past two decades

general trend of improved safety in rail operations.” Id. And “the latest rail

safety data reflects some troubling industry trends that suggest heightened

caution and awareness are needed in rail safety and operational planning.”

Id. Further, “uncertainty related to new operating technologies can affect

train safety” as crews learn to adjust to new requirements imposed by, for

example, Positive Train Control systems designed to prevent accidents. Id.

As discussed above, those conclusions were amply supported by evidence—

including comments developed in the record in these proceedings that

petitioners ignore—and relied on by the agency to justify the rule.




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      In light of those two separate justifications, FRA “determined that it

needed to change its position from the 2019 withdrawal and concluded that

the regulatory requirements in this final rule are necessary to ensure that

trains are adequately staffed for their intended operation and railroads

have appropriate safeguards in place for safe train operations whenever

using a one-person train crew.” 89 Fed. Reg. at 25083. Class I petitioners

do not deny that “the agency acknowledged the change.” Class I Br. 45; see

Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016). And their

argument (Br. 45) that the agency did not adequately explain its departure

from “the factual determinations underpinning its prior policy” falls apart

in the face of the agency’s rationale for the final rule.

      To support their argument, petitioners devote a section of their brief

(pp. 45-50) shooting at the wrong target, aiming at the proposed

rulemaking rather than the final rule. Not once in that section do

petitioners cite the final rule. Yet it is the final rule and the agency’s

explanation for the final rule that sits before this Court. Petitioners’

arguments should be rejected on that basis alone.

      For example, Class I petitioners claim that “FRA now contends” that

train derailments at Lac-Mégantic and Casselton “provide a basis for a

crew-size regulation,” Class I Br. 47-48, see also id. at 32-33, but cites only


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the proposed rule. The agency did not rely on those tragedies in the final

rule. Casselton is not mentioned, and Lac-Mégantic is referenced only once

when the preamble notes the Transportation Safety Board of Canada’s

response to that derailment. 89 Fed. Reg. at 25079.

      Petitioners similarly err by claiming that FRA previously stated that a

crew size rule would stifle innovation but now departs from that position,

Class I Br. 49, citing the proposed rulemaking. As an initial matter, the

final rule’s preamble noted that the agency’s prior position lacked data to

support it. 89 Fed. Reg. at 25082 n.265. The preamble further observed

that the agency continues to “support[ ] technological advancement through

research and funding.” Id. at 25081. And the preamble explained that the

final rule “differ[s] in approach from the previous rulemakings addressing

train crew size.” Id. at 25084. Rather than “broadly mandating two crew

members,” the final rule requires “two crew members for the most complex

operations until a railroad analyzes an operation and persuasively

demonstrates that risks associated with eliminating the second crew

member are reasonably mitigated.” Id. “By allowing railroads to petition

for a one-person crew,” FRA reasonably explained, “this final rule

accommodates the development of new technology while also ensuring the

safety of crews and the public by requiring an analysis that shows that these


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innovations will not make trains less safe.” Id. The agency’s “incremental

approach” provided “latitude for railroads to explore benefits from

advances in technology.” Id.; see id. at 25082 n.265 (“[T]his final rule does

not prohibit any specific type of one-person train crew operation or

prohibit the use of technology to perform duties typically performed by a

second crewmember.”). Petitioners’ contrary view, joined by amici, see

Nat’l Taxpayer Union Br. 3-9; Ohio Chamber Br. 3-15, depends on

accepting that the agency’s special-approval process is a mirage, yet it is

anything but. See pp. 51-55, supra.

      Class I petitioners again quibble with the notice of proposed

rulemaking, this time with its discussion of research reports that the agency

previously stated do not indicate that one-person crews are unsafe. Class I

Br. 49-50. Even if the proposed rulemaking (rather than the final rule)

were relevant, that preamble explained that when the Ninth Circuit vacated

the prior withdrawal of a crew size rule, the court did so in part because it

found that FRA did not “address the multiple safety concerns raised by

commenters and the research.’’ 87 Fed. Reg. at 45572. The proposed

rulemaking both concluded that the 2019 withdrawal gave too much weight

to a lack of data and “explain[ed] how the safety concerns the research

raises helped in the development of the proposed requirements for this


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rulemaking.” Id. FRA did not err by addressing the concerns identified by

a court decision vacating the agency’s prior action addressing crew size.

      Petitioners also claim that the agency inadequately explained why the

rule was necessary in the absence of conclusive data establishing that one-

person crews are unsafe, again citing the proposed rulemaking. Class I Br.

47-49. As discussed above, however, the final rule preamble discusses in

detail why this crew size rule is necessary for safety based on the

information the agency has before it.

      Petitioners likewise do not advance their argument by claiming that

one-person crews are sometimes used on shorter tracks; when carrying

passengers; and in Europe. Class I Br. 11-12. The agency explained why

those examples do not preclude it from requiring Class I trains to

demonstrate that removing a second crewmember (typically a conductor)

from their massive trains would be safe. Smaller trains traveling shorter

distances through terrains such as, for example, Indiana—where non-Class

I operations sometimes use one-person crews—present materially different

circumstances from miles-long trains traveling long distances through

more challenging environments such as mountains. See 89 Fed. Reg. at

25078 (“[W]ithout a special approval process, a Class I freight railroad,

with a more complex operation than a Class II or III freight railroad . . .


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would not be required to demonstrate that it considered all the hazards and

mitigated the risks for a one-person train crew operation before initiating

implementation . . . .”). Further, FRA did not need to require a two-person

crew baseline for passenger trains because “multiple train crewmembers

are typically necessary to meet the requirements of FRA’s passenger train

emergency preparedness rule so that passenger operations’ data is not

comparable to a one-person train crew operation.” Id. at 25080. And FRA

found that “one-person operations in other countries are either not

comparable because of different operational factors that contrast with U.S.

operations or because effective government regulation in other countries

has established minimum safety standards in the same way this final rule

will for U.S. operations.” Id. at 25079; see id. at 25079-80 (discussing the

issue in detail).

      Even if this Court were to conclude that the agency’s reassessment of

factual information was flawed in some respect, that would not provide a

basis to set aside the rule. “It is well understood in administrative law that

a reviewing court will uphold an agency action resting on several

independent grounds if any of those grounds validly supports the result.”

Pierce v. SEC, 786 F.3d 1027, 1034 (D.C. Cir. 2015). Here, the agency

expressly stated that it offered “two independent reasons” for its


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reassessment, one based on information before the agency in 2019 and one

addressing information not analyzed in the withdrawal—including recent

technological trends and operational changes, as well as multiple

commenters with firsthand knowledge who explained why a second

crewmember serves a valuable purpose on large trains. If the Court views

one set of reasons as invalid for any reason it should still uphold the rule

because of the other valid and plainly independent ground.

            2.    FRA Did Not Violate Reasoned
                  Decisionmaking By Declining To Pause Its
                  Rulemaking for Additional Data Collection

      After a lengthy comment period where FRA received thousands of

comments, the agency concluded that it had sufficient information to

address whether trains should have second crewmembers on board unless a

railroad can demonstrate that it can operate just as safely without that

additional person. Although FRA received thousands of comments on the

proposed rule, the National Transportation Safety Board did not offer its

views in these proceedings. Class I petitioners still argue that FRA should

have paused its proposal because the Board had previously recommended

that FRA collect more data. Class I Br. 34-39. But that view

mischaracterizes what the Board said, and regardless, any Board

recommendation does not limit FRA’s statutory and regulatory authority.


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      Contrary to Class I petitioners’ statement that the Board

recommended that FRA first collect data before issuing a regulation, the

Board in 2016 concluded only that FRA’s “accident database is inadequate

for comparing relevant accident rates based on crew size because the

information about accident circumstances and number of crewmembers in

the controlling cab is insufficient.” 84 Fed. Reg. at 24,737 n.9. It said

nothing about whether FRA should issue a crew size rule or what that

regulation should require if it did. And the statement has especially no

bearing on a rule that collects information based on one-person crews and

allows for a special-approval process based on a safety analysis. In any

event, the Board’s recommendation was just that, a recommendation. The

Board does not regulate rail safety and lacks authority to order FRA to

collect data before addressing train crew size.

      Petitioners claim that, even though the Board did not comment on the

proposed rule, FRA needed to squarely address a near-decade-old Board

recommendation because commenters cited it. Class I Br. 35. But the

agency explained and relied on evidence developed in these proceedings to

justify this rule. FRA referenced the increase in rail accidents attributed to

human factor causes, even with a two-person crew; a lack of information

from railroads that want to switch to one-person crews showing that they


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have considered relevant safety risks; numerous comments explaining why

pulling second crewmembers, who are typically conductors, off long-haul

trains is a bad idea; the benefit of a second crewmember if the other

crewmember becomes incapacitated; and the uncertainties introduced by

Positive Train Control. See pp. 32-35, supra. And FRA noted the

impossibility of developing an accident database comparing accident rates

when no Class I railroad currently uses a one-person crew. JPA Doc.13201

at 36. Class I petitioners cannot seriously contend that the rule should be

vacated based on a lack of response to a different agency’s near-decade-old

recommendation when FRA explained in painstaking detail why the rule

was necessary for rail safety, even absent data that does not exist.

      In a similar vein, Class I petitioners note that Congress also directed

FRA to collect more accident information. Class I Br. 36-37. Here again,

however, an instruction to collect information cannot fairly be read to

preclude the agency from regulating pursuant to its statutory authority.

Nor is there any reason to interpret Congress’s direction as a decision to

enshrine railroads with the ability to reduce crew size to one person without

seeking approval from that agency.

      And Class I petitioners’ interpretation of the Ninth Circuit’s decision

vacating the agency’s 2019 withdrawal of the proposed rule and preemption


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determination contained within that withdrawal defies reality. In vacating

the agency action, the court did not state “in no uncertain terms” that FRA

“should not issue a crew-size rule until it had collected the relevant data.”

Class I Br. 36. The court doubted the agency’s prior determination “that

two-member crews are less safe than one-person crews” because the

withdrawal “fail[ed] to address the multiple safety concerns raised by the

majority of the comments,” including crew fatigue, and the difficulties of

operating a one-person crew train on mountainous terrain. Transportation

Division, 988 F.3d at 1182-83. Those safety concerns were confirmed by

commenters in these proceedings—a point Class I petitioners ignore.

            3.    The Agency Properly Accounted for Labor
                  Costs

      FRA adequately considered labor costs when it promulgated the rule.

For example, the agency recognized that, for railroads currently operating

with two-person crews, the rule will not impose new costs absent action by

a Class I railroad. JPA Doc.13201, at 5-6. A Class I railroad operating with

a two-person crew today does not incur any additional costs as a result of

the rule by continuing to do so tomorrow.

      Class I petitioners resist the agency’s findings, but their arguments hit

wide of the mark. The Administrative Procedure Act imposes no obligation

to measure costs in a way industry prefers instead of examining direct

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compliance costs. Petitioners disagree and cite Michigan v. EPA, 576 U.S.

743 (2015), but that case supports FRA. There, the changes required by the

rule would “cost power plants, according to the Agency’s own estimate,

nearly $10 billion a year.” Id. at 750. Those types of out-of-pocket costs are

a far cry from the way in which petitioners frame costs as the amount of

money they could save if, at some indeterminate point in the future, they

can freely reduce their crews to a single person. And the Regulatory Impact

Analysis accounted for out-of-pocket costs “to initiate a new operation with

a one-person train crew.” JPA Doc.13201, at 24. It examined the costs of

following the rule’s special-approval procedure, including the costs of

developing a risk assessment to show that a one-person crew would be as

safe and preparing the special-approval petition. Id.

      The agency also acknowledged the argument that preserving the

status quo while allowing exceptions to a two-person train crew may “shift

freight shipments from rail to truck.” 89 Fed. Reg. at 25081. But the

agency explained that those “concerns do not undermine the basis for this

rulemaking, which focuses on the rail safety hazards introduced by

reducing crew size.” Id. The Regulatory Impact Analysis “shows that the

final rule’s costs are lower than the commenters’ projections.” Id. For

example, “the final rule’s costs are relatively small compared to the


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revenues of the impacted Class I railroads and therefore” the agency does

not “expect there to be significant price increases, if any, for rail freight,

attributed directly to costs of complying with this final rule.” JPA

Doc.13201, at 11. The agency also explained that “rail and trucking are

likely more competitive for shorter trips, most of which are completed by

short line railroads that face the least burden from this rule.” Id. And if a

railroad faced such a threat from the trucking industry, the rule provides a

mechanism to petition the agency to operate a one-person crew—as long as

doing so would be safe. Petitioners’ argument to the contrary assumes,

again incorrectly, that they will not be able to successfully seek special

approval where warranted.

      Nor does it matter that a prior Regulatory Impact Analysis from a

proposed rule nearly a decade ago that would have required two-person

crews included estimated costs from the “delay or prevention of instituting

new one-person crew operations in the future.” Class I Br. 53. Any

estimate of those costs would be speculative because it would need to

assume that railroads would forego the special-approval process or a

particular approval petition would be denied—issues irrelevant to that prior

proposed rule. It is premature to make either assumption, and the agency

should not be faulted for failing to take into account hypothetical costs that


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may never come to pass, particularly where the rule provides a way in

which regulated entities can avoid those costs.

      Class I petitioners also reference (Br. 51) costs incurred by

“[r]ailroads forced to add an additional crew member to an existing one-

person operation,” but they cannot claim to incur those costs because they

do not have any one-person crews (Br. 8). In all events, the rule accounted

for the costs to Class II and III one-person operations that must add a

crewmember because those operations have not been established for at

least two years before the final rule’s effective date. The agency explained

that those operations may continue with a one-person crew “pending FRA’s

decision on the railroad’s special approval petition.” JPA Doc.13201, at 9.

It also estimated the costs of special approvals and risk assessments for

those railroads. Id. at 28. And the agency explained that those railroads

“would not need to add additional crewmembers unless the railroad does

not exercise the option or fails to demonstrate in its petition that the one-

person train crew operation will be as safe or safer than a two crewmember

operation.” Id. at 9.

            4.    There Is No Basis for Setting Aside the Rule
                  as Untimely

      Class I petitioners incorrectly contend that the agency’s rule is invalid

because the agency took longer than 12 months to promulgate the rule.

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Class I Br. 54-56. As an initial matter, petitioners forfeited this argument

by failing to raise it at any point before the agency. Alabama ex rel.

Siegelman v. EPA, 911 F.2d 499, 505 (11th Cir. 1990); Federal Mar.

Comm’n v. South Carolina State Ports Auth., 535 U.S. 743, 762 (2002)

(applying the “general rule that courts should not topple over

administrative decisions unless the administrative body not only has erred

but has erred against objection made at the time appropriate under its

practice” (quotation marks omitted)); Transportation Division, 40 F.4th at

659 (applying forfeiture to an argument raised on appeal not presented

during FRA rulemaking).

      Even if petitioners had preserved the argument, “if a statute does not

specify a consequence for noncompliance with statutory timing provisions,

the federal courts will not in the ordinary course impose their own coercive

sanction.” Barnhart v. Peabody Coal Co., 537 U.S. 149, 159 (2003). As the

Supreme Court explained, federal courts may not “construe[ ] a provision

that the Government ‘shall’ act within a specified time, without more, as a

jurisdictional limit precluding action later.” Id. at 158. “That is so because,

as [the Court] ha[s] held time and again, an official’s crucial duties are

better carried out late than never.” Nielsen v. Preap, 586 U.S. 392, 411

(2019) (plurality opinion).


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      Congress provided that the “time limit for disposition of a proceeding

may not be more than 12 months after the date it begins,” 49 U.S.C.

§ 20103(b), and the agency’s implementing regulation states that “[e]ach

rulemaking proceeding shall be completed [within] 12 months,” 49 C.F.R.

§ 211.13. Those provisions do not prescribe a “consequence for

noncompliance,” Barnhart, 537 U.S. at 159, eliminating the argument that

the agency had authority to promulgate the rule but then lost it. Instead, if

an agency fails to comply with a deadline, “the proper remedy is for an

aggrieved party to seek a court order ‘compel[ling] agency action unlawfully

withheld or unreasonably delayed.’ ” Transportation Division, 40 F.4th at

666 (quoting 5 U.S.C. § 706(1)). Petitioners did not do so. The D.C. Circuit

relied on those principles to reject an argument that a rule promulgated by

FRA after the 12-month deadline should be invalidated. See id.

      Nor do petitioners attempt to show any “prejudic[e]” from the

amount of time the agency took to promulgate the rule. 5 U.S.C. § 706. For

example, they do not claim that the record has gone stale, or that the

timeframe precluded them from offering their views to the agency.

      Petitioners’ efforts to avoid Barnhart’s holding fail. They contend

that since Barnhart, the Supreme Court has paid more attention to “the

boundaries of an agency’s rulemaking authority.” Class I Br. 55. None of


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those cases addressed Barnhart’s square holding about agency timing

provisions, and it is the Supreme Court’s “prerogative of overruling its own

decisions.” Agostini v. Felton, 521 U.S. 203, 237 (1997). Instead of doing

so, the Court recently reaffirmed the holdings of Barnhart and similar cases

applied to timing provisions. See McIntosh v. United States, 601 U.S. 330,

338-40 (2024) (Barnhart reasoning applies to the district court’s failure to

comply with the timing provisions in Federal Rule of Criminal Procedure

32.2).

      Nor are Class I petitioners correct that Barnhart is distinguishable,

an argument they previously disclaimed. See Class I Br. 56 n.3. Petitioners

state that Barnhart did not involve a question of statutory authority, but

that is wrong: the case involved a statute stating that the Commissioner of

Social Security “shall” complete all assignments before October 1, 1993; the

Commissioner did not; and the coal companies in that case argued that the

failure to comply with the deadline left “the Commissioner with no

authority” under the statute to act. 537 U.S. at 158; see id. at 163 (“if

Congress had meant to set a counterintuitive limit on authority to act, it

would have said more than it did”).

      Petitioners stand on no firmer footing by noting (Br. 56) that this case

involves FRA self-imposing a regulatory deadline of 12 months. Agency


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regulations, promulgated against the background that statutory deadlines

not specifying consequences for noncompliance do not strip agencies of

their ability to act, should not be construed to impose harsher limitations.

Cf. McIntosh, 601 U.S. at 338-40. It is uncontested that the regulation at

issue here does not provide a sanction on FRA for noncompliance, and the

agency in the preamble when the regulation was issued did not suggest one

either. See 49 C.F.R. § 211.13; 41 Fed. Reg. 54181 (Dec. 13, 1976).

      C.    The Risk Reduction Statute and Regulations Do
            Not Displace the Agency’s Authority To Establish
            a Process Before Trains Can Operate Without a
            Second Crewmember Who Is Typically a
            Conductor

      As explained, FRA has broad statutory authority, “as necessary,” to

“prescribe regulations” addressing “every area of railroad safety.” 49 U.S.C.

§ 20103(a). And Congress gave FRA authority to “prescribe regulations and

issue orders to establish a program requiring the . . . certification . . . of any

operator of a locomotive,” id. § 20135(a), as well as “the certification of train

conductors,” id. § 20163(a). The agency’s decision to establish a process

that requires Class I railroads to demonstrate that removing a second

crewmember (typically a conductor) is as safe as keeping that second

crewmember falls comfortably within those authorities.




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      Class I petitioners correctly note that Congress has addressed rail

safety through a multi-pronged approach. Class I Br. 39-42. For example,

in 2008, Congress enacted the railroad safety risk reduction program. See

49 U.S.C. § 20156. The statute requires Class I railroads to develop a

program that mitigates aspects “that increase risks to railroad safety” and

enhances aspects “that decrease risks to railroad safety.” Id. § 20156(d)(1).

Railroad programs must “identify and analyze the aspects of its railroad,

including operating rules and practices, infrastructure, equipment,

employee levels and schedules, safety culture, management structure,

employee training, and other matters, including those not covered by

railroad safety regulations or other Federal regulations, that impact

railroad safety.” Id. § 20156(c).

      The risk reduction statute, which says nothing about one-person

crews, does not limit FRA’s broad authority under Section 20103(a) to

prescribe crew size regulations addressing railroad safety. “[I]f Congress

had intended to curtail in a particular area the broad rulemaking authority

granted in [that section], we would have expected it to do so in language

expressly describing an exception from that section or at least referring

specifically to the section.” American Hosp. Ass’n v. NLRB, 499 U.S. 606,

613 (1991). Even “a congressional decision to prohibit certain activities


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does not imply an intent to disable the relevant administrative body from

taking similar action with respect to activities that pose a similar danger.”

Texas Rural Legal Aid, Inc. v. Legal Servs. Corp., 940 F.2d 685, 694 (D.C.

Cir. 1991) (emphasis omitted). The risk reduction statute does not even do

that, instead supplementing the agency’s authority by allowing FRA to

assess civil penalties for railroads that “fail[] to submit, certify, or comply

with a safety risk reduction program” as outlined in that statute. 49 U.S.C.

§ 20156(h).

      Interpreting that statute to preclude FRA from regulating on any

topic the statute touches “would undermine the flexibility sought in vesting

broad rulemaking authority in” Section 20103(a), Mourning, 411 U.S. at

372, and would threaten the agency’s ability to regulate crew size directly.

Petitioners’ interpretation that the risk reduction statute displaces FRA’s

general rulemaking authority would also threaten the agency’s ability to

promulgate rules involving other topics addressed by the risk reduction

statute, including “operating rules and practices, infrastructure, equipment,

employee . . . schedules, safety culture, management structure, employee

training, and other matters . . . that impact railroad safety.” 49 U.S.C.

§ 20156(c). Congress could not possibly have intended to silently achieve

that result through a statute designed to promote railroad safety. For those


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reasons, the rule does not effect “an impermissible alteration of the

statutory framework” that “contradicts and undermines” the risk reduction

statute or FRA’s broad authority under Section 20103(a). Ragsdale v.

Wolverine World Wide, Inc., 535 U.S. 81, 92, 96 (2002).

      Nor do other FRA regulations implementing the railroad safety risk

reduction program displace the agency’s ability to promulgate a crew size

regulation. As the agency explained, “the final rule is an element of FRA’s

holistic approach to address a range of hazards related to the operation of

trains.” 89 Fed. Reg. at 25059. “[N]o other FRA regulatory effort focuses

on the specific hazards and risks associated with a one-person train crew

operation, and railroads are currently not required to specifically mitigate

any such hazards or risks.” JPA Doc.13201, at 6. For example, the risk

reduction program rule is only “part of [FRA’s] efforts to continually

improve rail safety,” 85 Fed. Reg. 9262, 9262 (Feb. 18, 2020), not the

exclusive way in which the agency addresses safety issues. And although

Class I petitioners contend that railroads wishing to reduce crew staffing

levels “must identify the precise steps they will take to mitigate any risks,”

Class I Br. 41, FRA does not “approve specific mitigation measures in a

railroad’s [risk reduction program] plan” under the risk reduction program

rule, 85 Fed. Reg. at 9273. The rule therefore affirmatively states that


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approval of a plan does not constitute agency approval of “the specific

actions the railroad will implement under its [risk reduction program]

plan.” 49 C.F.R. § 271.301(d)(4). Similarly, no provision in the risk

reduction program rule requires a railroad to seek agency authorization for

any specific action it intends to take pursuant to its risk reduction program

plan. A railroad’s approved risk reduction program plan accordingly does

not include agency approval of safety mitigation measures related to crew

size. The risk reduction program rule and the rule under review thus

complement rather than contradict each other: Under the risk reduction

program rule, Class I railroads must address railroad safety hazards as part

of their risk-based hazard management programs and analysis, 85 Fed.

Reg. at 9263, while the rule under review focuses on what Class I railroads

must show to obtain approval before moving from the status quo to trains

operating with only a one-person crew.

      Class I petitioners’ claim is further belied by the changes the agency

made in response to comments and the way in which it integrated the final

rule under review into the existing regulatory scheme. Those changes

“provide consistency with existing requirements, specifically, consistency

with both the System Safety Program requirements in part 270 and the

Risk Reduction Program requirements in part 271.” 89 Fed. Reg. at 25084;


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see id. at 25095 (“These changes are consistent with the system safety

program and risk reduction program rules, which require a risk-based

hazard analysis as part of the risk-based hazard management program.

Providing for use of a similar form of analysis will help address concerns

regarding the complexity and burden of the risk assessment.”). The

changes allow “railroad[s] to build upon existing analyses when preparing

the required risk-based hazard analysis as part of a petition for a one-

person crew.” Id. at 25084. Put simply, there is no conflict between the

risk reduction program rule, which does not require FRA authorization

before a Class I railroad can remove second crewmembers, and this rule,

which does.

II.   The Shortline Railroads’ Petition for Review Should Be
      Denied

      Shortline petitioners include Class II and III railroads, which are

smaller than Class I railroads. In response to the unique concerns Class II

and III railroads presented at the comment phase, FRA made significant

changes to the final rule. Those changes addressed many of Shortline

petitioners’ concerns with the proposed rule’s scope and costs. Shortline

Br. 4, 12-13, 21; see also Marybeth Luczak, Missouri Rep. Burlison Eyes

Nullification of FRA Crew Size Rule, Railway Age (Apr. 29, 2024),

https://perma.cc/C2YR-K3C9 (quoting American Short Line and Regional

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Railroad Association President Chuck Baker: “We appreciate that the FRA

took some feedback from small business short line railroads into account

and made the final rule significantly less onerous on small businesses than

its original proposal.”). And their complaints about where the agency drew

its regulatory lines provide no basis to set aside the final rule.

      A.    FRA’s Decision To Exempt Certain Legacy
            Operations Satisfies Reasoned Decisionmaking

      The final rule allows Class II and III legacy freight train operations

with currently existing one-person crew operations established for at least

two years before the effective date of the final rule to continue those

operations if they meet certain safety conditions and provide the agency

with information about their operations. 49 C.F.R. § 218.129. Existing

railroad one-person crew operations established for less than two years,

even if they transport specific types and quantities of certain hazardous

materials, can continue to do so even while the agency decides those

railroads’ special-approval petitions filed by August 7, 2024. Id.

§ 218.131(a)(2). Similarly, the rule requires Class II and III freight railroads

with a legacy one-person train crew operation that did not previously

transport certain types and quantities of hazardous materials as part of its

two-year legacy operation to also petition FRA for special approval by



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August 7, 2024 to continue hauling hazardous materials with a one-person

operation while FRA decides the petitions. Id.; see 89 Fed. Reg. at 25089.

      Shortline petitioners claim that FRA acted arbitrarily when it chose

two years to determine legacy status. They forfeited that argument by not

challenging the timeframe before the agency. E.g., Siegelman, 911 F.2d at

505 (argument forfeited if not raised before the agency); South Carolina

State Ports Authority, 535 U.S. at 762. Even if preserved, Shortline

petitioners candidly acknowledge that “there may well be sound reasons for

an agency to place limits on eligibility for legacy status” because, “in the

absence of a time limit, parties would try to qualify days or weeks before the

deadline, leaving no meaningful record of safe one-person crew

operations.” Shortline Br. 22-23.

      FRA reasonably explained that a two-year track record allows it to

determine whether the legacy operation is safe. The proposed rule stated

that, “[w]ithout at least two years of one-person train crew operations, a

railroad would not have established an accident/incident safety record of a

reasonable length on which FRA could base any determination of the level

of safety the operation provides.” 87 Fed. Reg. at 45595. No commenter

persuaded FRA that the proposed timeline was arbitrary or unduly

burdensome. Shortline petitioners, for example, explained that “the


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majority of short line legacy operators have been operating trains with a

single person in the locomotive cab for decades.” JPA Doc.13033, at 40. By

allowing these operations to continue while requiring them to implement

safety measures and inform the agency about their activities, FRA will have

“the opportunity to review the operation’s safety record.” JPA Doc.13201,

at 7; see also 89 Fed. Reg. at 25074 (“FRA’s decision to permit Class II and

III legacy one-person train crew freight operations, including those

transporting hazardous materials, to continue without a risk assessment or

special approval was based on the final rule’s imposition of minimum

requirements on these legacy operations.”). At the same time, the agency

explained that it “will closely monitor this legacy exception and will

scrutinize data or observations showing that the legacy operations may not

be as safe as currently described.” 89 Fed. Reg. at 25074. But FRA

reasonably concluded that railroads without an established two-year safety

record will need to seek approval to continue an existing operation with

one-person crews.

      “Regulation, like legislation, often requires drawing lines,” Mayo

Found. for Med. Educ. & Research v. United States, 562 U.S. 44, 59 (2011),

and agencies have “wide discretion in making line-drawing decisions” as

long as the line is not “patently unreasonable,” National Shooting Sports


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Found., Inc. v. Jones, 716 F.3d 200, 214-15 (D.C. Cir. 2013) (quotation

marks omitted). FRA’s explanation satisfies that standard, particularly in

light of Shortline petitioners’ decision not to challenge the line before the

agency and its concession that a line should be drawn to promote safety.

      B.    FRA Engaged in Reasoned Decisionmaking By
            Requiring Alerters To Prevent Accidents on
            Trains Using One-Person Crews

      The final rule requires an “alerter” for railroads operating with a one-

person train crew that do not already have alerters installed in the

controlling locomotives used in their trains. A functioning alerter ensures

that if the engineer becomes unresponsive, the train will apply emergency

brakes—a safety action typically performed by the second crewmember. It

monitors the engineer’s attentiveness, warning the engineer through a

sequence of audible and visual alarms if the engineer does not respond, and

then applying the train’s brakes if there continues to be no response. See

49 C.F.R. § 229.5 (defining alerter). With a second crewmember present,

the alerter would be a secondary or redundant safety measure, but without

a second crewmember, the alerter is the primary or sole measure of

stopping the train if the lone crewmember becomes incapacitated. An

alerter is a necessary safety protection for a one-person crew operation, but

it is not the only protection required by the final rule to mitigate harm to


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the one-person crewmember and the public. These additional protections

include: maintaining communication between a railroad employee and the

on-board engineer; tracking the location of the one-person crew train; and

establishing protocols to ensure that railroads can mitigate risk in a manner

comparable to two-person crews. 89 Fed. Reg. at 25054.

      As FRA explained, “[w]ithout a working alerter on the controlling

locomotive, if a one-person train crew becomes incapacitated while the

train is moving, the train would continue to operate down the track out of

control without another crewmember on-board who could apply the

emergency brake.” 89 Fed. Reg. at 25054; see id. at 25052 (explaining that

the rule has “the potential to reduce the likelihood of at least one type of

foreseeable accident that is more likely to occur with a one-person train

crew than a two-person train crew if a locomotive is not equipped with a

safety device that will stop the train when the locomotive engineer is

physically unresponsive—even if the type of accident foreseen has not yet

occurred”). Accordingly, “an alerter or a second crewmember to stop the

train in an emergency is a necessary precaution to prevent the potential for

catastrophic harm due to an uncontrolled train movement.” Id. at 25075.

      FRA discussed in detail the costs of installing alerters in the final rule.

Class I and II railroads, as well as most passenger trains, that already have


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alerters installed in their locomotives will not incur any extra costs. See 49

C.F.R. §§ 229.140, 238.237. FRA estimated total costs for legacy one-

person operations at $2.3 million, and $2.7 million for installing alerters on

railroads initiating one-person operations that do not already have alerters

installed. JPA Doc.13201, at 16-17. To ease the burden on regulated

entities, FRA gave railroads until June 9, 2026 to install alerters on

already-existing one-person legacy operations, allowing operations in the

meantime to continue without alerters. 89 Fed. Reg. at 25057; 49 C.F.R.

§ 218.129(a)(1)(ii), (3)(iii), (4)(ii), (5)(ii). At the same time, FRA

“encourage[d] each railroad with a one-person train crew operation to act

more quickly than required by the schedule when possible,” and “urge[d]

each railroad not to delay alerter installation.” 89 Fed. Reg. at 25075.

      Shortline petitioners challenge the alerter requirement, but they do

not dispute that if an engineer on a one-person train crew becomes

incapacitated, the train would continue to operate without an alerter or a

second crewmember. Instead, they urge that the rule should be vacated

because FRA did not adequately justify departing from its prior conclusion

that “there is a reduced safety need for requiring alerters” on trains

traveling short distances at under 25 miles per hour. Shortline Br. 32

(quoting 77 Fed. Reg. 21312, 21330 (Apr. 9, 2012)). But even if alerters are


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not as important on slower-moving trains relative to high-speed trains, that

does not mean that requiring them is arbitrary and capricious or

unnecessary for rail safety. As the rule explains, without alerters a one-

person crew on a train operating at any speed will continue to move if an

engineer suffers a medical emergency or is otherwise incapacitated; that is

sufficient explanation of the agency’s decision to require alerters on all

trains with one-person crews even though it did not before. 89 Fed. Reg. at

25054-55; see 87 Fed. Reg. at 45592.

      It is, in any event, clear that before the comment period FRA was not

aware of the scope of train operations with only one crew member and no

alerter. As FRA explained, “the operational status quo” in the past has

always been “a minimum of two train crewmembers.” 89 Fed. Reg. at

25075 n.194. A single comment from a decade ago stating that “many”

trains run by one particular Class II railroad operated with one-person

crews, Shortline Br. 16 n.16, does not undermine the conclusion that FRA

believed most trains had two-person crews and does not address how many

one-person crews operated without alerters. In these very proceedings, for

example, the agency became aware of significantly more one-person crew

operations. 89 Fed. Reg. at 25073 (in contrast to the “seven freight

railroads FRA identified by name in the [proposed rulemaking] as known to


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operate a one-person train crew operation,” “FRA estimates that there are

75 Class II and III railroad legacy freight one-person train crew

operations”); see Class I Br. 48. The fact that the agency responsible for

railroad safety did not have an accurate count of Class II and III one-person

train crew operations only underscores the need for regulation on this

topic. FRA will now be able to count and monitor those operations to

ensure that they are being conducted safely.

      C.    FRA Reasonably Addressed the Transportation of
            Hazardous Materials

      1.    Some railroads haul extremely dangerous hazardous materials,

and when they do, they are subject to extensive regulatory requirements

directed toward mitigating the risk of tragic accidents. See generally 49

C.F.R. subtitle B, ch. I, subchapter C (Hazardous Materials Regulations); id.

part 174 (Carriage By Rail). For example, FRA coordinates with other

federal agencies to regulate and enforce the safe and secure transportation

of hazardous materials by rail and requires “specific types of training based

on the dangers posed by hazardous materials generally and the additional

dangers of a release in transit due to an accident, derailment, theft, or

attack.” 89 Fed. Reg. at 25082. At the same time, “hazardous materials are

essential to the U.S. economy,” which requires agencies to vigilantly

balance economic and safety concerns. Id.

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     In the notice of proposed rulemaking, FRA proposed a blanket

prohibition on one-person crews carrying high-risk hazardous materials.

See 87 Fed. Reg. at 45617. In support of that proposal, some commenters

“were generally concerned about the safety of hazardous materials being

transported by a train with a one-person crew or potential delays to

mitigation measures with only a one-person crew.” 89 Fed. Reg. at 25082.

But the railroad industry opposed such a categorical approach. Id.

     After carefully evaluating the comments, FRA adopted a more

nuanced approach. See 89 Fed. Reg. at 25082 (“In response to various rail

industry commenters, the final rule does not contain the proposed

overarching prohibition on one-person train crew operations transporting

certain quantities and types of hazardous materials.”). The final rule

recognizes that the transportation of hazardous materials raises numerous

safety hazards, “such as the potential for an accidental or non-accidental

release of a hazardous material, that would typically create additional tasks

for a train crew to communicate information about an immediate or

developing safety situation.” Id. at 25055. These additional risks present

“the potential for a greater negative consequence than when a train does

not contain such materials.” Id. But FRA determined that legacy

operations with an established multiyear record of safety could continue to


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carry hazardous materials as long as those operations comply with the

safety requirements set forth in the final rule. For example, the final rule

requires those operations to adopt operating rules that: (1) establish regular

and effective communication with a one-person train crew to ensure the

safety of the train and crewmember; and (2) safeguard the public after an

incident. Id. at 25074. And the final rule requires railroads to install

alerters on one-person crews to ensure that the train can be stopped if the

single crewmember becomes incapacitated. Id.

      The final rule also creates a path for Class II and III railroads to

transport hazardous materials with a one-person train crew in the future,

even if the railroad does not have a two-year safety record of transporting

hazardous materials with a one-person crew or did not establish a one-

person crew operation before the effective date of the final rule. All

railroads, including Class II and III railroads, seeking to initiate such an

operation transporting certain hazardous materials, see 49 C.F.R.

§ 218.123(c), will be required to conduct a risk assessment and obtain

special approval, see id. § 218.131; 89 Fed. Reg. at 25074.

      2.    Shortline petitioners claim that the final rule arbitrarily

distinguishes between shortlines that were carrying hazardous materials for

at least two years before the rule’s promulgation and shortlines that have


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not, on the ground that “there [i]s no safety difference between short lines

with one-person crews carrying hazmat or not.” Shortline Br. 12; see

Shortline Br. 24-27, 28-31. But it was not unreasonable for the agency to

conclude that a railroad that has a demonstrated safety record transporting

hazardous materials for at least two years is differently situated from a

railroad that does not have a comparable record. Class II and III trains

without a history of transporting those materials safely must first

demonstrate to FRA that they can safely do so.

      For similar reasons, Shortline petitioners (Br. 29-31) are wrong to

contend that FRA erred by requiring a risk assessment for smaller railroads

to carry certain hazardous materials if they do not have a demonstrated

safety record of at least two years. The risk assessment must include “a

statement with supporting evidence that the one-person train crew

operation with a fully implemented mitigation plan is as safe or safer than a

two-person minimum train crew operation.” 49 C.F.R. § 218.133(a)(3)(iv).

For railroads that operate with two-person crews but wish to use one-

person crews, the risk assessment will allow the agency “to accurately

assess whether a railroad has taken appropriate measures to compensate

for the removal of a second train crewmember.” 89 Fed. Reg. at 25055; see

Shortline Br. 29-30. And for railroads seeking to continue using a one-


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person crew but also wishing to haul hazardous materials without a two-

year safety record, the risk assessment will allow the agency “to evaluate

risk in an objective manner by following a decision-making process

designed to systematically identify hazards, assess the degree of risk

associated with those hazards, and based on those assessed risks, identify

and implement measures to minimize or mitigate the risks to an acceptable

level.” 89 Fed. Reg. at 25055.

      Although Shortline petitioners claim (Br. 30) that “the required risk

assessment serves no safety purpose,” that is self-evidently wrong. Class II

and III railroads without a demonstrated record of safely transporting

hazardous materials must show to the agency that they can safely do so

through a risk assessment that evaluates safety. And although Shortline

petitioners state that FRA concluded that “it is safe for legacy one-person

crews to carry hazmat,” id., that conclusion applies only to those operations

that have established a safety record of at least two years. Shortline

petitioners’ argument would require this Court to ignore that distinction.

Further, although Shortline petitioners claim that risk assessments are

“unreasonably burdensome,” Shortline Br. 29, they do not contest—or even

address—FRA’s estimate of the costs of submitting special-approval

petitions with risk assessments, JPA Doc.13201, at 28-29. They also


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recognize that “FRA is willing to work with the short line industry in

developing a model risk assessment that could potentially reduce the

paperwork burden on short lines and accelerate the petition process.” 89

Fed. Reg. at 25074.

      Shortline petitioners’ other arguments likewise fall flat. FRA’s safety

determination should not be upset because railroads may sometimes be

“obligated to carry goods, including hazmat.” Shortline Br. 26. The agency

reasonably found that the safety risks associated with hazardous materials

precluded it from easing restrictions merely because a railroad may not

have had a choice to carry those materials. As the final rule reasonably

explains, given “the known safety and security risks associated with

operating trains transporting large amounts of hazardous materials,” 89

Fed. Reg. at 25074, a railroad without a proven track record of carrying

hazardous materials must conduct a risk assessment and obtain special

approval from the agency before doing so, see 49 C.F.R. § 218.131.

Moreover, although petitioners state that “a railroad otherwise qualifying

for legacy status, and that has no control over whether it may be required to

carry hazmat, will lose its legacy status,” Shortline Br. 26, that legacy

operation can continue as a one-person crew whenever it is not hauling

hazardous materials. The rule is appropriately tailored for legacy


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operations to address the unique dangers posed by the transportation of

hazardous materials.

      Shortline petitioners also wrongly criticize the rule (Br. 25, 29, 31) as

imposing duplicative reporting requirements. FRA explained that

“[a]lthough current regulations require the railroad to report certain

‘accidents/incidents’ to FRA, FRA cannot accurately determine from that

reported information which, if any, reportable accidents/incidents are

attributable to a railroad’s one-person train crew operation.” 89 Fed. Reg.

at 25092; see id. (discussing the types of information FRA requests specific

to one-person operations). New reporting requirements will allow the

agency to learn more information about one-person crew accidents.

      D.    FRA’s Guidance Document Comports with the
            Legacy Exception

      As part of their effort to attack the rule, Shortline petitioners cite a

guidance document FRA’s Office of Railroad Safety issued in May 2024 and

claim that its issuance requires the entire rule to be set aside. They do not

challenge the document itself, which “do[es] not have the force and effect of

law” and is “not meant to bind the public in any way.” Office of R.R. Safety,

FRA, Compliance Guide for Train Crew Size Safety Requirements 2 (May

3, 2024) (Compliance Guide). The guidance “provides information to assist

organizations in complying with the rule, especially small businesses.” Id.

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      Shortline petitioners claim that the guidance “contradicts the rule,”

Shortline Br. 24 (emphasis omitted), because it announced that FRA, in an

exercise of enforcement discretion, would relax some of the compliance

deadlines for existing non-legacy one-person Class II and III operations

that do not carry hazardous materials. Compare Compliance Guide 10,

with 89 Fed. Reg. at 25057. FRA did so in response to a query from

petitioner the American Short Line and Regional Railroad Association,

which now complains about that decision even though the agency’s action

benefitted petitioner’s members. That exercise of inherent discretion

demonstrates flexibility, not a basis to invalidate a rule. Cf. Heckler v.

Chaney, 470 U.S. 821, 832 (1985) (“an agency’s decision not to take

enforcement action should be presumed immune from judicial review”).

      Shortline petitioners also cite the guidance in an effort to

demonstrate that the rule is arbitrary and capricious on the ground that it

does not clarify “whether simple changes in ownership, common in the

industry, but involving no changes in operations, would cause a carrier to

lose its legacy status.” Shortline Br. 27-28. According to petitioners, the

guidance “suggest[ed] that even if a railroad’s operation of a one-person

crew does not change, a change in ownership” might result “in forfeiture of




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the exemption.” Id. at 15. The guidance is consistent with the rule and

reasoned decisionmaking.

      The proposed rule did not indicate that the agency intended to allow a

legacy exception to transfer to a new owner of the one-person operation.

Instead, as proposed, the exception for legacy operations applied only to

the specific railroad meeting the two-year requirement. See 87 Fed. Reg. at

45618 (proposed Section 218.131(a): “Except as provided in § 218.123(c), a

one-person train operation that has been established for at least two years

before [EFFECTIVE DATE OF FINAL RULE], may continue if the railroad

files a special approval petition under § 218.137, containing a description of

the operation no later than [DATE 90 DAYS AFTER EFFECTIVE DATE OF

FINAL RULE].”); id. at 45566. Shortline petitioners did not address this

issue in any comment during the rulemaking and have forfeited the ability

to do so now.

      Any timely challenge would also lack merit. Consistent with the

proposal, the agency in the final rule applies the legacy exception to the

particular railroad establishing the legacy operation. See, e.g., 49 C.F.R.

§ 218.129(a)(1) (“Each Class II or III railroad’s legacy one-person train crew

freight operation that has been established for at least two years before

June 10, 2024, may continue to operate with a one-person train crew” if it


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meets certain requirements). The final rule requires legacy operations to

notify FRA with basic, critical information about those operations. See id.

§ 218.129(a)(1)(i)(A), (b). It is not arbitrary or capricious, or vague, for an

agency to refuse to automatically continue to provide a legacy exception to

an operation that changes ownership in ways that may render that

information inaccurate—for instance, if the new owner wants to alter the

number of miles and hours a one-person train crew will operate in a single

day. And, as the guidance explained, the final rule still allows a new owner

to file for a waiver of one or more of the requirements. Compliance Guide

17; see 49 U.S.C. § 20103(d); 49 C.F.R. §§ 211.41-211.45. For example, a new

owner could seek a waiver if the ownership change will have no impact on

the one-person train crew operation and the ownership transfer will not

result in significant changes in the operation that impact the hazards and

risks different from the way in which the operation had been described

previously to FRA.

      E.    Shortline Petitioners’ Additional Complaints
            About Costs Are Unavailing

      Shortline petitioners state (Br. 34) that they adopt and incorporate

Parts I.A. and IV of Class I petitioners’ brief, and those arguments fail for

all the reasons addressed above. As relevant to Shortline petitioners, FRA’s

Regulatory Impact Analysis addresses costs at length, including Shortline

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petitioners’ estimated costs for alerters, operations costs, notification costs,

and special approval and risk assessment costs. See JPA Doc.13201, at 16-

36. Shortline petitioners acknowledge that those compliance costs will be

significantly lower because of changes FRA made to the final rule in

response to comments. Shortline Br. 4, 12-13, 21. For example, legacy

operations meeting FRA’s minimum requirements will be allowed to

continue those operations with notification to FRA and compliance with

deadlines to phase in minimum safety requirements. The costs arising

from notification are minimal in comparison to the benefit of the

information to the agency, as the final rule will enable FRA to collect

sufficient data to analyze the safety impact of crew size on different types of

railroad operations. And Shortline petitioners offer no other criticism of

the rule’s estimated costs.

III. Petitioners’ Request for Relief Is Overbroad

      Both sets of petitioners ask this Court to vacate the rule. For the

reasons explained above, the rule is lawful, and none of petitioner’s

contrary arguments withstands scrutiny. In any event, petitioners are

incorrect that the final rule should be vacated in its entirety and universally.

      First, if this Court concludes that a particular provision of the final

rule is unlawful, it should limit any remedy to the invalid provision.


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“[R]egulations—like statutes—are presumptively severable: If parts of a

regulation are invalid and other parts are not, [a court] set[s] aside only the

invalid parts unless the remaining ones cannot operate by themselves or

unless the agency manifests an intent for the entire package to rise or fall

together.” Board of Cty. Comm’rs of Weld Cty. v. EPA, 72 F.4th 284, 296

(D.C. Cir. 2023) (emphasis added). Severability comports with the

fundamental principle that “judicial remedies should be ‘no more

burdensome to the defendant than necessary to provide complete relief’ to

the plaintiffs or petitioners.” Id. (quoting Califano v. Yamasaki, 442 U.S.

682, 702 (1979)).

      FRA announced its intent that the rule’s provisions operate by

themselves even if a court were to invalidate part of the rule. The agency

“recognize[d] that certain provisions focus on unique factors” and found

“that the various provisions of this final rule are severable and able to

operate functionally if severed from each other.” 89 Fed. Reg. at 25059.

The agency likewise stated its intent that, “[i]n the event a court were to

invalidate one or more of this final rule’s unique provisions, the remaining

provisions should stand, thus allowing FRA to continue to fulfill its

congressionally authorized role.” Id. This severability discussion “dispels

any doubt about what the [agency] would have done” if any particular


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disclosure “were subtracted.” National Ass’n of Mfrs. v. SEC, 105 F.4th

802, 816 (5th Cir. 2024); see also Barr v. American Ass’n of Political

Consultants, 591 U.S. 610, 624 (2020) (courts generally “should adhere to

the text of [a] severability or nonseverability clause”). For example, the

validity of provisions specific to Class II and III railroads should not affect

the validity of provisions specific to Class I railroads.

      Second, the Administrative Procedure Act does not reference vacatur,

instead remitting plaintiffs to traditional equitable remedies like

injunctions, 5 U.S.C. § 703, and there is little indication that Congress

intended to create a new and radically different remedy in providing that

courts reviewing agency action should “set aside” agency “action, findings,

and conclusions,” id. § 706(2); see United States v. Texas, 599 U.S. 670,

693-703 (2023) (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment). Even assuming vacatur were an available

remedy for a successful challenge to a regulation under the Administrative

Procedure Act, such a remedy would not apply to non-parties or different

petitioners. See id. at 704. Nor does it follow that petitioners are entitled

to that equitable remedy in the circumstances of this case. Instead, the

matter should be remanded to the agency without vacatur of the challenged

provisions unless any error “incurably tainted the agency’s decisionmaking


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process.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs,

781 F.3d 1271, 1290 (11th Cir. 2015).

                              CONCLUSION

     The petitions for review should be denied.

                                             Respectfully submitted,

                                              BRIAN M. BOYNTON
   Of Counsel:                                  Principal Deputy Assistant
 SUBASH IYER                                      Attorney General
   Acting General Counsel                     ABBY C. WRIGHT
 PAUL M. GEIER                                MARTIN TOTARO
   Acting Assistant General Counsel             Attorneys, Appellate Staff
   for Litigation and Enforcement               Civil Division, Room 7525
 PAULA LEE                                      U.S. Department of Justice
   Senior Trial Attorney                        950 Pennsylvania Avenue NW
                                                Washington, DC 20530
   U.S. Department of Transportation            (202) 514-5048
 ALLISON ISHIHARA FULTZ                         martin.v.totaro@usdoj.gov
   Chief Counsel
 CHRISTOPHER S. VAN NOSTRAND
   Deputy Chief Counsel
 REBECCA S. BEHRAVESH
   Senior Attorney
 SAMUEL GILBERT
   Senior Attorney
   Federal Railroad Administration

September 2024




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                   CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of this Court’s July 1,

2024 Order because it contains 20,937 words. This brief also complies with

the typeface and type-style requirements of Federal Rule of Appellate

Procedure 32(a)(5)-(6) because it was prepared using Word for Microsoft

365 in Georgia 14-point font, a proportionally spaced typeface.



                                          s/ Martin Totaro
                                          Martin Totaro
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49 U.S.C. § 103. Federal Railroad Administration (excerpts)
    (c) Safety as highest priority.—In carrying out its duties, the
Administration shall consider the assignment and maintenance of safety as
the highest priority, recognizing the clear intent, encouragement, and
dedication of Congress to the furtherance of the highest degree of safety in
railroad transportation.


49 U.S.C. § 20101. Purpose
   The purpose of this chapter is to promote safety in every area of railroad
operations and reduce railroad-related accidents and incidents.


49 U.S.C. § 20103. General authority (excerpts)
    (a) Regulations and orders.—The Secretary of Transportation, as
necessary, shall prescribe regulations and issue orders for every area of
railroad safety supplementing laws and regulations in effect on October 16,
1970. When prescribing a security regulation or issuing a security order
that affects the safety of railroad operations, the Secretary of Homeland
Security shall consult with the Secretary.


49 U.S.C. § 20135. Licensing or certification of locomotive
operators (excerpts)
    (a) General.—The Secretary of Transportation shall prescribe
regulations and issue orders to establish a program requiring the licensing
or certification, after one year after the program is established, of any
operator of a locomotive.


49 U.S.C. § 20163. Certification of train conductors (excerpts)
    (a) Regulations.—Not later than 18 months after the date of
enactment of the Rail Safety Improvement Act of 2008, the Secretary of
Transportation shall prescribe regulations to establish a program requiring
the certification of train conductors. In prescribing such regulations, the
Secretary shall require that train conductors be trained, in accordance with
the training standards developed pursuant to section 20162.


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